      Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 1 of 95 Page ID #:1




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11                     UNITED STATES DISTRICT COURT
12
                     CENTRAL DISTRICT OF CALIFORNIA
13
14
     In Re                             )     Dist. Case No.
15                                     )
                                       )     Lead Bk Case No. 2:18-bk-20151-ER
16   VERITY HEALTH SYSTEM OF           )
     CALIFORNIA, INC., et. al.,        )     Chapter 11
17                                     )
                                       )     Adv. Proc No. 2:20-ap-1051-ER
18                                     )
                Debtors and Debtors in )     NOTICE OF MOTION AND
19   Possession.                       )     MOTION OF PLAINTIFF FOR
20   ________________________________ )      WITHDRAWAL OF REFERNCE
                                       )     OF ADVERSAY PROCEEDINGS
                                       )     PENDING IN BANKRUPTCY
21   CALIFORNIA NURSES                 )     COURT
     ASSOCIATION (CNA)                 )
22                                     )     Hearing:
                                       )
23                                     )     Date:      to be determined
                       Plaintiff,
                                       )     Time:      to be determined
24                                     )     Courtroom: to be determined
     v.                                )
25                                     )     Assigned to the Honorable (unknown)
                                       )
26   VERITY HEALTH SYSTEMS OF          )
     CALIFORNIA, INC., a California    )
27                                     )
     Corporation; ST. FRANCIS MEDICAL )
28
     CENTER, an Affiliate; ST. VINCENT )
                                       )
                                         1
      Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 2 of 95 Page ID #:2




     MEDICAL CENTER, an Affiliate;        )
 1                                        )
     SETON MEDICAL CENTER, an             )
 2   Affiliate; ST. FRANCIS MEDICAL       )
 3   CENTER OF LYNWOOD, an Affiliate; ))
     ST. VINCENT DIALYSIS CENTER, )
 4                                        )
     INC., an Affiliate; VERITY           )
 5   HOLDINGS, LLC, an Affiliate;         )
     DEPAUL VENTURES, LLC, an             )
 6                                        )
     Affiliate; RICHARD ADCOCK, an        )
 7   Individual; STEVEN SHARRER, an )
 8   Individual, and DOES 1 through 500, ))
                                          )
 9                                        )
                             Defendants.
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          Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 3 of 95 Page ID #:3




 1
                                                                                                                         Page
 2                                            TABLE OF CONTENTS
 3
     I.       INTRODUCTION ......................................................................................... 9
 4
 5   II.      FACTS ......................................................................................................... 10
 6
     III.     ARGUMENT .............................................................................................. 15
 7
 8            A.       Withdrawal of the Reference Is Mandatory ...................................... 15
 9
                       1.        Legal Sufficiency of Institutional Defendants’ WARN Act
10                               Notices .................................................................................... 17
11
                       2.        Legal Issues Regarding Timing of Amendments to Prior
12                               WARN Notices ....................................................................... 18
13
                       3.        Joint and Several Liability Among Multiple Related
14
                                  Entities ................................................................................... 19
15
16
              B.       Cause Exists for Permissive Withdrawal of the Reference............... 20

17                     1.        Plaintiff’s Complaint Arises Entirely Outside of the
18                               Bankruptcy Statute and so Consists of Non-Core Claims ...... 20
19                     2.        Permissive Withdrawal Would Support the Efficient Use of
20                               Judicial Resources ................................................................... 23
21
                       3.        Withdrawal of the Reference Would Not Increase Delay or
22                               Costs to the Parties .................................................................. 24
23
                       4.        Withdrawal of the Reference Does Not Implicate Uniform
24                               Administration of Bankruptcy Law ........................................ 25
25
                       5.        Permissive Withdrawal Does Not Implicate Forum
26
                                   Shopping ............................................................................. 25
27
28   IV.      CONCLUSION............................................................................................ 26


                                                                  3
       Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 4 of 95 Page ID #:4




 1                                       TABLE OF AUTHORITIES
                                                                                                                   Page
 2
 3   CASES
 4
     Air Line Pilots Ass’n Int’l v. Pension Ben. Guar. Corp.
 5       (In re United Air Lines, Inc.)
 6   337 B.R. 904 (N.D. Ill. 2006) ................................................................................ 22

 7   Blixseth v. Brown
 8   470 B.R. 562 (D. Mont. 2012) ............................................................................... 23
 9
     Carlberg v. Guam Indus. Servs.
10   2017 U.S. Dist. LEXIS 164619 (D. Guam 2017) .................................................. 24
11
     County of L.A. Tax Collector v. Bank of Am.
12   2:10-cv-03536-SVW (C.D. Cal. June 29, 2010).............................................. 15, 18
13
     Granfinanciera, S.A. v. Nordberg
14
     109 S. Ct. 2782 (1989) ........................................................................................... 23
15
16
     Green v. FDIC (In re Tamalpais Bancorp)
     451 B.R. 6 (N.D. Cal. 2011) .................................................................................. 22
17
18   Gumport v. Growth Fin. Corp. (In re Transcon Lines)
     121 B.R. 837 (C.D. Cal. 1990) .............................................................................. 24
19
20   Henderson v. Bank of Am. N.A. (In re Simmons)
     510 B.R. 76 (Bankr. S.D. Miss. 2014) ................................................................... 21
21
22   In re Dana Corp.
23   379 B.R. 449 (S.D.N.Y. 2007) ......................................................................... 17, 19
24   In re Fraser’s Boiler Serv.
25   2019 U.S. Dist. LEXIS 37840 (W.D. Wash. Mar. 8, 2019) .................................. 21
26
     In re Colorado Energy Supply
27   728 F.2d 1283 (10th Cir. 1984) ............................................................................. 21
28


                                                               4
       Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 5 of 95 Page ID #:5




 1   In re St. Mary Hosp.
     115 B.R. 495 (E.D. Pa. 1990) ................................................................................ 17
 2
 3   In re White Motor Corp.
     42 B.R. 693 (N.D. Ohio 1984) ............................................................................... 16
 4
 5   Int’l Bhd. of Teamsters v. Amer. Delivery Serv. Co.
 6   50 F.3d 770 (9th Cir. 1995) ................................................................................... 19

 7   Johnson v. First NLC Fin. Servs., LLC (In re First NLC Fin. Servs., LLC)
 8   410 B.R. 726 (Bankr. S.D. Fla. 2008) ................................................................... 21
 9
     Local 397 v. Midwest Fasteners, Inc.
10   779 F. Supp. 788 (D. N.J 1992) ............................................................................. 19
11
     Local 1239 Int’l Bhd. of Boilermakers v. Allsteel, Inc.
12   1996 Dist. LEXIS 4829 (N.D. Ill. 1996) ............................................................... 18
13
     McMahon v. Providence Capital Enters., Inc. (In re McMahon)
14
     222 B.R. 205 (S.D.N.Y. 1998) ............................................................................... 25
15
16
     Oakview Terrace. v. Owens Fin. Group (In re Oakview Terrace)
     1994 U.S. Dist. LEXIS 825 (N.D. Cal. Jan. 25, 1994) .......................................... 21
17
18   Rogers v. Sugar Tree Prods.
     7 F.3d 577 (7th Cir. 1993) ..................................................................................... 20
19
20   Security Farms v. Int’l Bhd. Of Teamsters
     124 F.3d 999 (9th Cir. 1997) ........................................................................... 15, 20
21
22   Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC
23   454 B.R. 307 (S.D.N.Y. 2011) ............................................................................... 16
24   Shugrne v. Air Line Pilot’s Ass’n. Int’l (In re Ionosphere Clubs, Inc.)
25   922 F.2d 984 (2d Cir. 1990)................................................................................... 15
26
     Stern v. Marshall
27   564 U.S. 462 (2011) ............................................................................................... 23
28
     United Nat’l Ins. Co. v. Vicars Ins. Agency (In re Vicars Ins. Agency)

                                                               5
       Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 6 of 95 Page ID #:6




 1   96 F.3d 949 (7th Cir. 1996) ................................................................................... 15
 2   Verity Health System of Cal. v. Chaudhuri
 3   2:20-cv-00613-DSF, Dkt. No 23 (C.D. Cal. March 5, 2020) ................................ 23
 4
     Wholesale & Retail Food Distribution Local 63 v. Santa Fe Terminal Servs.
 5   826 F. Supp 326 (C.D. Cal. 1993) ......................................................................... 19
 6
     Wisdom v. Gugino (In re Wisdom)
 7   2015 Bankr. LEXIS 1532 (Bankr. D. Idaho May 5, 2015) ................................... 22
 8
     FEDERAL STATUTES
 9
10   28 U.S.C. § 157(d) ............................................................................. 7, 9, 15, 16, 20
11
     28 U.S.C. § 157(e) ................................................................................................. 24
12
13   WARN Act
14
     29 U.S.C. § 2101 et. seq.................................................................................. passim
15
16
     29 U.S.C. § 2102 .................................................................................................... 16

17   29 U.S.C. § 2102(b)(2)(A) ..................................................................................... 18
18
     CALIFORNIA STATUTES
19
20   Cal Lab. Code § 1400, et. seq. ............................................................................... 18
21
     Cal Civ. Pro. § 592 ................................................................................................. 24
22
23   OTHER AUTHORITIES
24   Alan N. Resnick, et. al, eds.. 1 Collier on Bankruptcy (16th ed. 2010 supp.)....... 16
25
26
27
28


                                                                6
      Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 7 of 95 Page ID #:7




 1         TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
 2
 3         PLEASE TAKE NOTICE THAT on a date and time to be set upon
 4   assignment of this matter to a District Judge, plaintiffs in the above-captioned
 5   action (collectively, “Plaintiffs”), will, and hereby do, move this Court for an order
 6   immediately withdrawing, for all purposes, the reference of this action to the
 7   United States Bankruptcy Court for the Central District of California in which the
 8   Chapter 11 bankruptcy case of the Verity Health Systems of California, Inc., et. al.
 9   is pending (the “Motion”).
10         This Motion is made pursuant to 28 U.S.C. § 157(d), and other applicable
11   law on the grounds that:
12             (1) this action involves federal claims for relief under the WARN Act, 29
13   USC § 2101, et. seq., the resolution of which requires consideration of laws of the
14   United States regulating organizations or activities affecting interstate commerce,
15   for which withdrawal of the reference is mandatory and which must be tried in the
16   District Court pursuant to 28 U.S.C. § 157(d); and
17             (2) to the extent not mandatory, permissive withdrawal of the reference is
18   appropriate given the “non-core” nature of this proceeding, the presence of
19   common law state claims, Plaintiff’s asserted right to a jury trial, and to advance
20   the interests of judicial economy and efficiency.
21             PLEASE TAKE FURTHER NOTICE that this Motion is based on this
22   notice of Motion and Motion, the accompanying memorandum of points and
23   authorities, the complaint and record in the adversary proceeding and the pending
24   chapter 11 bankruptcy case of Verity Health Systems of California, et. al.
25   (“Verity”), all matters that are subject of judicial notice, and any other or further
26   argument and evidence that may be presented to the Court before or any hearing on
27   this Motion.
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      Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 8 of 95 Page ID #:8




 1            PLEASE TAKE FURTHER NOTICE that CNA will serve this Notice
 2   of Motion and Motion on the parties set forth in the Proof of Service attached
 3   hereto. A response to this Motion must be filed in accordance with Local Rule 7-9.
 4            PLEASE TAKE FURTHER NOTICE that, in the event that the Court
 5   sets a hearing on the Motion, CNA shall provide notice of entry of the order setting
 6   the hearing as directed by the Court.
 7            PLEASE TAKE FURTHER NOTICE that this Motion is made
 8   following good faith efforts at conference of counsel pursuant to Local Rule 7-3
 9   which occurred between February 28 and March 18, 2020.
10
11   Dated: March 19, 2020                   Respectfully submitted,
12
                                             CALIFORNIA NURSES ASSOCIATION
13                                           LEGAL DEPARTMENT
14
15
                                             By: /s/ Carol A. Igoe
16                                              Carol A. Igoe
17                                              Counsel for Plaintiff
                                                California Nurses Association
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      Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 9 of 95 Page ID #:9




 1                                I.     INTRODUCTION
 2         Plaintiff California Nurses Association (“CNA”) filed an Adversary
 3   Proceeding Complaint in the Central District of California Bankruptcy Court
 4   against several Institutional Defendants that are Debtors in the related bankruptcy
 5   case, and two Individual Defendants who are not. CNA sues based on the
 6   Institutional Defendants’ failure to comply with California and Federal Worker
 7   Adjustment and Retraining Notification (“WARN”) Acts when they permanently
 8   closed St. Vincent Medical Center in Los Angeles (the “Hospital” or “St.
 9   Vincent”) without providing 60 days’ advance notice to CNA and the St. Vincent
10   nurses. Relatedly, CNA also sues all Defendants for fraudulent concealment and
11   negligent misrepresentation based on their representations about the probability
12   that the Hospital would close.
13         CNA now respectfully moves this Court to withdraw the reference pursuant
14   to 28 U.S.C. § 157(d) on the bases that both mandatory and permissive withdrawal
15   are warranted. While CNA moves to withdraw the reference for all of its claims,
16   for the sake of clarity, it does not move to withdraw the reference for its requested
17   relief that any recovery in this case be granted administrative claim priority. This
18   determination is within the purview of the bankruptcy court and a secondary issue
19   of this case in any event.
20         Withdrawal of the reference is mandatory because this case presents three
21   substantial and material questions of a non-bankruptcy federal law, namely the
22   federal WARN Act. First, adjudication requires resolution of the novel question of
23   whether a notice is legally ineffective for all WARN Act purposes where it
24   forecasts sale and continued operation of the business, as well as continued
25   employment long after Defendants’ knew such an outcome was unlikely. Second,
26   adjudication requires resolution of the novel question regarding whether
27   Defendants’ WARN Act Notice obligations were triggered as soon as Defendants’
28   first realized that sale of the Hospital was becoming increasingly unlikely and that

                                               9
     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 10 of 95 Page ID #:10




 1   they intended to shut down the Hospital in the event the sale fell through. Third,
 2   this case requires close consideration of complex issues of joint and several
 3   liability between multiple entities, including entities that are not in a direct parent-
 4   subsidiary relationship.
 5         In the alternative, permissive withdrawal is warranted. CNA’s Complaint
 6   presents non-core claims that are not created by bankruptcy law, could exist
 7   outside bankruptcy court, and would exist based on Defendants’ misconduct even
 8   if no Defendant had filed for bankruptcy. Furthermore, three out of four of the
 9   causes of action presented are state law claims. All four claims carry a right to a
10   jury trial. And CNA does not consent to final adjudication by the Bankruptcy
11   Court. Accordingly, efficiency will be promoted by having this matter adjudicated
12   by the District Court in the first instance to avoid probable duplication of judicial
13   management and consideration. Avoidance of duplicate attorney work before two
14   courts also supports withdrawal. Moreover, because CNA’s Complaint does not
15   involve any bankruptcy questions, withdrawal does not implicate the uniform
16   administration of that area of the law. Nor is forum shopping implicated, as this
17   matter is yet in its infancy. Accordingly, even if the District Court finds that
18   withdrawal is not mandatory, permissive withdrawal is still warranted for good
19   cause shown.
20                                       II.    FACTS
21         On March 5, 2020, CNA filed the Complaint underlying this motion as an
22   Adversary Proceeding in Bankruptcy Court against the entities Verity Health
23   Systems, Inc. (“Verity”), Verity Holdings, DePaul Ventures, St. Vincent Medical
24   Center, St. Vincent Dialysis Center, St. Francis Medical Center, Seton Medical
25   Center; and against the individuals Richard Adcock and Steven Sharrer.
26   Complaint at ¶¶ 8-21, 2:20-ap-01051-ER, Doc. 1. A copy of this Complaint is
27   attached to this pleading as Exhibit 1.
28         CNA is a labor union that represents hundreds of registered nurses who

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 11 of 95 Page ID #:11




 1   worked at St. Vincent until Defendants permanently shut it down in January 2020.
 2   Complaint at ¶ 7. CNA brings its Complaint on its own behalf, and in a
 3   representative capacity, on behalf of the St. Vincent registered nurses. Id.
 4         As most relevant to this Motion, CNA’s Complaint alleges that:
 5         The Institutional Defendants in this matter are several hospitals, their parent
 6   company, and related entities — all of which share common ownership, financial
 7   control, management, directors, officers, operational control, and labor relations.
 8   Complaint at ¶¶ 8-21, 60-82. In August 2018, the Institutional Defendants in this
 9   matter filed for Chapter 11 relief. Id. at ¶ 23.
10         In about May 2019, Defendants entered an agreement to sell several
11   hospitals, including St. Vincent, to Strategic Global Management (“SGM”).
12   Complaint at ¶ 24. As part of that Agreement, public through the bankruptcy and
13   emphasized by Defendants, SGM agreed to hire “substantially all” the St. Vincent
14   employees. Id. at ¶ 25. Beginning in July 2019, CNA negotiated a new Collective
15   Bargaining Agreement with Defendants and SGM on behalf of the St. Vincent
16   nurses that would take effect once SGM took ownership of the Hospital. Id. at ¶¶
17   24-27.
18         In August 2019, Defendants sent the St. Vincent nurses a “Notice Pursuant
19   to Worker Adjustment and Retraining Notification Act and the California WARN
20   Act.” Id. at ¶ 28. It stated that while the sale of the Hospital to SGM was still
21   subject to certain contingencies, Defendants were optimistic that the sale would
22   close and SGM had agreed to employ substantially all the St. Vincent employees.
23   Id. at ¶¶ 29-30. During this same period, Defendants acknowledged to the
24   Bankruptcy Court, but did not share with employees, that if the sale did not close,
25   Defendants would likely shut down the St. Vincent. Id. at ¶ 31.
26         In September 2019, CNA, Defendants and SGM reached a new Collective
27   Bargaining Agreement that would govern the St. Vincent nurses’ terms and
28   conditions of employment once SGM became the owner. Complaint at ¶ 32.

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 12 of 95 Page ID #:12




 1         In October 2019, Defendants sent the St. Vincent nurses a WARN Act
 2   extension notice that stated:
 3
 4         Verity Health System of California, Inc. and certain affiliates
           entered into a Court approved agreement (“Agreement”) to sell
 5         substantially all of the assets of [the hospitals, including St.
 6         Vincent,] to Strategic Global Management, Inc. * * * The
           Agreement requires satisfaction of certain milestones to
 7
           complete the Sale. Not all of the milestones have been met.
 8         Consequently, the separations of employment must be
 9
           postponed and will not occur at the time originally anticipated.
           At this time, we anticipate the Sale and separations of
10         employment will occur between November 17, 2019 and
11         November 30, 2019.”
12   Complaint at ¶ 33.
13         Nothing in the October Warn Notice indicated uncertainty about whether the
14   sale would close, only when. Because the October WARN Notice stated that the
15   Defendants anticipated close of the sale and because Defendants had previously
16   represented that SGM would continue to employ substantially all the nurses, this
17   Notice effectively communicated to CNA and the St. Vincent nurses that
18   substantially all the nurses’ employment would continue. Complaint at ¶ 34.
19         From about November 13-26, 2019, Defendants bargained with CNA over
20   severance for the St. Vincent nurses who would not be hired by SGM. Complaint
21   at ¶ 35. In this process, Defendants identified around nine nurses whose
22   employment it expected would not be continued. Id. Defendants communicated to
23   CNA that SGM would hire all the other St. Vincent nurses. Id. At no time during
24   this bargaining did Defendants express doubt or concern over whether SGM would
25   consummate the sale. Id. Based Defendants’ representations, CNA and the nurses
26   believed that the requirement that SGM hire “substantially all” the St. Vincent
27   employees meant that all but nine of the St. Vincent nurses would have continued
28   employment once the SGM sale closed and that those nine nurses would receive

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 13 of 95 Page ID #:13




 1   severance pay. Id.
 2         Also in November 2019, and before Defendants concluded severance
 3   negotiations with CNA: Defendants learned that SGM could not obtain sufficient
 4   financing to close the sale. Complaint at ¶ 35. SGM notified Defendants that it
 5   believed issues of “Material Adverse Effect” prevented SGM from closing. Id. at ¶
 6   39. And Defendants filed a “Plan B” motion under seal with the Bankruptcy Court
 7   to ensure that employees did not learn that Defendants planned to permanently shut
 8   down the Hospital if the sale to SGM fell through. Id. at ¶ 40. But Defendants did
 9   not disclose these facts to CNA or the St. Vincent nurses.
10         Instead, on about November 25, 2019, Mr. Steven Sharrer, Verity’s Chief
11   Human Resources Officer, sent a WARN Act extension notice to CNA stating that
12   it anticipated the sale of St. Vincent to SGM would close between December 6,
13   2019 and December 19, 2019. Id. at ¶ 41. It also stated that the Defendants were
14   continuing “to work expeditiously for a prompt close of the sale with SGM.” Id.
15   And Defendants advised that in support of their efforts to promptly close the sale,
16   they had obtained a court order regarding the Attorney General conditions and
17   reached settlement with the U.S. Department of Health and Human Services, two
18   crucial matters that had to be resolved for sale closing. Id.
19         Because Defendants had already represented to CNA that SGM would
20   continue to employ substantially all the nurses, Defendants’ November WARN
21   Notice amounted to false assurance that the nurses would likely keep their jobs
22   because of the impending sale, when in fact Defendants already knew that the sale
23   was unlikely to close. Because of Defendants’ repeated assurances, St. Vincent
24   nurses did not seek other employment when they otherwise would have, and CNA
25   wasted time and money on bargaining strategies that it otherwise would not have
26   pursued. Complaint at ¶ 44.
27         On December 5, 2019, SGM failed to close the sale of St. Vincent Medical
28   Center by the deadline imposed by the bankruptcy court. Complaint at ¶ 47. By

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 14 of 95 Page ID #:14




 1   December 16, 2019, Defendants were meeting with professional consultants to
 2   plan the permanent closure of St. Vincent Medical Center. Id. at ¶ 48.
 3         On December 18, 2019, Defendants emailed the St. Vincent nurses that the
 4   sale of the Hospital to SGM did not close and so their employment with Verity
 5   would “NOT end on December 19, 2019” as previously anticipated. Complaint at
 6   ¶ 50. Defendants did not disclose that they had begun the process of permanently
 7   closing St. Vincent because the sale had fallen through or that all the St. Vincent
 8   nurses would lose their jobs as a result. Id. Instead, the notice merely stated that
 9   Verity would advise them of “any further developments relating to [their]
10   employment.” Id. Nurses relied on Defendants’ December 18 assurance that their
11   employment with Verity would “NOT end,” and because of it, did not seek other
12   employment. Complaint at ¶ at 51.
13         By December 19, 2019, at the latest, Defendants’ counsel began researching
14   whether they could shoe-horn the closure of St. Vincent, still undisclosed to the
15   workforce, into an exception to the WARN Acts to avoid penalties for their failure
16   to timely disclose the planned shutdown. Complaint at ¶ 52.
17         On January 6, 2020, Defendants filed an emergency motion with the
18   Bankruptcy Court to shut down St. Vincent Medical Center. Complaint at ¶ 54.
19   The Motion expressed concern that once the fact that of an eminent shutdown was
20   public, turnover of nursing staff would be “likely to accelerate, making
21   maintenance of high-quality patient care more difficult, and, to the extent that
22   temporary nursing replacements are required, significantly more expensive.” Id.
23   On January 8, 2020, the Bankruptcy Court granted Defendants’ emergency motion
24   to shutdown St. Vincent. Id. at ¶ 55. On January 9, 2020, Defendants permanently
25   shut down St. Vincent’s emergency department. Id. at ¶ 56.
26         But it was not until January 13, 2020, that Defendants emailed CNA a new
27   WARN notice (dated January 10, 2020) that finally disclosed that Defendants were
28   shutting down St. Vincent Medical Center and all the nurses’ employment would

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 15 of 95 Page ID #:15




 1   end between January 14, 2019 and January 27, 2020. Complaint at ¶ 57.
 2   Defendants then shutdown the Hospital as announced in the January 2020 Notice,
 3   and all the St. Vincent nurses lost their jobs with little to no notice or time to
 4   secure alternative employment.
 5         The lawsuit underlying this Motion followed.
 6                                    III.   ARGUMENT
 7         A.     Withdrawal of the Reference Is Mandatory.
 8         All complaints related to a case under Title 11 are, as a general matter,
 9   referred to the bankruptcy court. C.D. Cal. General Order 266. But withdrawal of
10   that reference is mandatory where resolution of the matter requires “consideration
11   of both title 11 and other laws of the United States regulating organization or
12   activities affecting commerce.” 28 U.S.C. § 157(d).
13         Courts have consistently found that the statutory mandatory withdrawal
14   requirements are met when the legal issues involve the substantial and material
15   consideration of non-bankruptcy federal law. Security Farms v. Int’l Bhd. Of
16   Teamsters, 124 F.3d 999, 1008 (9th Cir. 1997). “The issues in question must
17   require more than the mere application well-settled or hornbook non-bankruptcy
18   law; significant interpretation of the non-[Bankruptcy] Code statute must be
19   required.” United Nat’l Ins. Co. v. Vicars Ins. Agency (In re Vicars Ins. Agency),
20   96 F.3d 949, 953 (7th Cir. 1996) (quotation marks and citation omitted). But the
21   legal questions involved need not be of “cosmic proportions.” Id. at 954.
22         Instead a federal issue is “substantial and material” if it requires something
23   more that the “routine application” of the non-bankruptcy federal laws. Shugrne v.
24   Air Line Pilot’s Ass’n. Int’l. (In re Ionosphere Clubs Inc.), 922 F.2d 984, 995 (2d
25   Cir. 1990). “Under this standard, withdrawal is required where there is a question
26   of first impression.” County of L.A. Tax Collector v. Bank of Am., 2:10-cv-03536-
27   SVW, *9 (C.D. Cal. June 29, 2010) (collecting cases establishing this rule).
28   “Withdrawal is also required if there is meaningful analysis and consideration of a

                                                15
     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 16 of 95 Page ID #:16




 1   non-bankruptcy federal commerce law, even in the absence of a question of first
 2   impression.” Id. (collecting cases establishing this rule). The reason being,
 3   “Congress intended for difficult questions of non-bankruptcy federal law must be
 4   addressed by Article III courts rather than Bankruptcy Courts.” Id. (citing Northern
 5   Pipeline Construction Co. v. Marathon Pipeline Co., 458 U.S. 50 (1982); Alan N.
 6   Resnick & Henry J. Sommer, eds., 1 Collier on Bankruptcy ¶ 3.04[2] (16th ed.
 7   2010 supp.)).
 8            CNA’s Federal WARN Act claim alleges that CNA and the St. Vincent
 9   nurses were not provided with 60-days’ advance notice of the Hospital closure as
10   required by 29 U.S.C. § 2102. Because of the unusual of facts of this case this
11   claim present several substantial and material questions of non-bankruptcy federal
12   law, as detailed below. Moreover, federal labor laws of which the WARN Act is
13   included are precisely the type of laws governing interstate commerce that
14   Congress envisioned when it enacted Section 1157(d). In re White Motor Corp.,
15   42 B.R. 693, 700 (N.D. Ohio 1984) (approvingly citing to Representative Kramer’s
16   colloquy during consideration of the final version of Section 1157(d), in which he
17   explained that the phrase “activities affecting interstate commerce” refers to related
18   cases which require consideration of the ‘National Labor Relations Act, civil rights
19   laws, the Securities and Exchange Act of 1934 and similar laws’). Accordingly,
20   withdrawal of the reference is in this case mandatory. See, e.g., Sec. Investor Prot.
21   Corp. v. Bernard L. Madoff Inv. Sec. LLC, 454 B.R. 307, *9 (S.D.N.Y. 2011)
22   (“[I]n determining whether withdrawal of the refence is mandatory, this Court need
23   not evaluate the merits of the parties’ claims; rather, it is sufficient for the court to
24   determine that the proceeding will involve consideration of federal non-bankruptcy
25   law.”)
26
27
28


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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 17 of 95 Page ID #:17




 1                1.     Legal Sufficiency of Institutional Defendants’ WARN Act
                         Notices
 2
           While bankruptcy courts occasionally adjudicate WARN Act cases,
 3
     mandatory withdrawal is required in this case because CNA’s Federal WARN Act
 4
     claim is not the routine “cookie-cutter” case in which the employer provides no
 5
     notice whatsoever to the union or employees at issue. In those cases, a bankruptcy
 6
     court judge simply applies the statute to the facts at hand. See In re Dana Corp.,
 7
     379 B.R. 449, 458 (S.D.N.Y. 2002) (granting motion to withdraw reference
 8
     because while the “bankruptcy court is certainly competent to address CERCLA
 9
     issues, and although bankruptcy courts have done so in the past, I am not
10
     convinced that resolution of the disputed issues [would require straightforward
11
     application of established law]”).
12
           On the contrary, this case will require significant interpretation of the
13
     WARN Act to determine if Institutional Defendants’ issuance of prior notices
14
     indicating that SGM would purchase St. Vincent and hire substantially all of the
15
     employees amounted to any form of WARN Act compliance. In re St. Mary
16
     Hosp., 115 B.R. 495, 498 (E.D. Pa. 1990) (“When a bankruptcy court must engage
17
     in a complex search for the appropriate interpretation of a non-bankruptcy federal
18
     statute involving an issue of first impression section 157(d) withdrawal is
19
     required.”) This case will also require a judge to decide if Institutional
20
     Defendants’ January 2020 WARN Act Notice appropriately amended their prior
21
     notices to inform employees that they would in fact all lose their jobs when these
22
     prior notices led workers to expect continued employment, information
23
     Defendants’ knew was misleading at the time.
24
           Furthermore, since Institutional Defendants’ January 2020 WARN Notice
25
     relied on the “unforeseeable business circumstances” exception this case will
26
     require interpretation of how this defense applies under these unique
27
     circumstances. Complaint at Ex.5. In re Dana Corp., 379 B.R. at 461 (finding
28
     that determination of which circumstances qualify for the “act of God” defense

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 18 of 95 Page ID #:18




 1   under CERCLA would require the bankruptcy court to “materially” consider the
 2   statute and so mandatory withdrawal was appropriate). Additionally, a court will
 3   need to determine if the exception even applies given Defendants’ inclusion of
 4   incomplete and inaccurate information in the prior notices, done to prevent
 5   employees from finding alternative work until their departure was convenient for
 6   Defendants. Furthermore, a court will need to determine if the failure of SGM to
 7   close the sale amounted to an unforeseeable business circumstance based on
 8   SGM’s recalcitrance from early on in the sale process.
 9         Moreover, given that this defense only exists under the Federal WARN Act
10   (see 29 U.S.C. § 2102(b)(2)(A)) and not the state WARN Act counterpart (Cal.
11   Labor Code § 1400, et. seq.), a court will need to examine this federal and state
12   law conflict determine if this exception applies to a California hospital operating in
13   bankruptcy such as St. Vincent. Accordingly, this case is only appropriate for an
14   Article III judge to adjudicate since no clear authority on these questions of law
15   exist which would provide an “easy conclusion.” County of L.A. Tax Collector v.
16   Bank of Am., 2:10-cv-03535-SVW, *18 (C.D. Cal 2010).
17
                  2.    Legal Issues Regarding Timing of Amendments to Prior
18                      WARN Notices
19         Assuming arguendo that not all of Defendants’ WARN Act notices were
20   misleading and could have been amended to state that the hospital would likely
21   close, the question still exists of when such amendments were required in order to
22   reduce Defendants’ exposure. Some courts outside of this Circuit have held that
23   notice is required as soon as a plant closing is foreseeable. See, e.g., Local 1239
24   Int’l Bhd. Of Boilermakers v. Allsteel, Inc., 1996 Dist. Lexis 4829 (N.D. Ill. 1996)
25   (finding that “interested parties [must] be notified of plant-closings when they
26   become foreseeable, not when they are absolute certainties”). However, based on
27   the timing and language of their January 13, 2020 WARN notice, Institutional
28   Defendants will likely argue that such amendments were not required until the

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 19 of 95 Page ID #:19




 1   bankruptcy judge granted their emergency motion to close St. Vincent on January
 2   9, 2020. Complaint at Ex. 5 (noting that the “additional notice [was provided] as
 3   soon as practicable” following the bankruptcy court’s order). Thus, because to
 4   Plaintiff’s knowledge no controlling authority exists, the judge deciding this case
 5   must significantly engage with the WARN Act to decide an issue of first
 6   impression in this Circuit, further militating in favor of mandatory withdrawal.
 7                3.     Joint and Several Liability Among Multiple Related Entities
 8         Mandatory withdrawal is also triggered in this case by complex issues of
 9   joint and several liability. Where employers’ operations are sufficiently
10   intertwined, various entities may be found to be a single employer, jointly and
11   severally liable to their employees, even though the businesses attempted to avoid
12   that organization. This is commonly referred to as single employer or integrated
13   enterprise. And CNA alleges that the Institutional Defendants in this case should
14   be held liable in this way.
15         Courts generally determine whether distinct businesses amount to a single
16   employer by considering (i) common ownership, (ii) common directors and/or
17   officers, (iii) de facto exercise of control, (iv) unity of personnel policies
18   emanating from a common source, and (v) the dependency of operations. Int’l
19   Bhd. of Teamsters v. American Delivery Serv. Co., 50 F.3d 770, 776 (9th Cir.
20   1995). In WARN Act cases, the courts also consider the Department of Labor
21   regulations and state corporate law. Local 397 v. Midwest Fasteners, Inc., 779 F.
22   Supp. 788 (D. N.J. 1992); Wholesale & Retail Food Distribution Local 63 v. Santa
23   Fe Terminal Servs., 826 F. Supp. 326, 334 (C.D. Cal. 1993). CNA has alleged
24   facts establishing that in this case, all the single employer and DOL factors weigh
25   in favor of treating the Institutional Defendants as a single employer. ¶ 8-21, 60-
26   82.
27         And analyzing these issues results is a particularly complex and legal and
28   fact-based inquiry. Cf. In re Dana Corp, 379 B.R. 449, 457-58 (S.D.N.Y. 2007)

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 20 of 95 Page ID #:20




 1   (finding that mandatory withdrawal of CERCLA claims appropriate because
 2   determining joint and several liability would require substantial material
 3   consideration, both factual and legal, of issues outside the realm of expertise of the
 4   bankruptcy court). That is especially true where, as here, Plaintiff seeks to
 5   establish joint and several liability between entities that do not share a direct
 6   parent-subsidiary relationship. See Rogers v. Sugar Tree Prods., 7 F.3d 577, 582-
 7   583 (7th Cir. 1993) (“The single employer doctrine is not limited to parent-
 8   subsidiary relationships, but the issue becomes more difficult when considering
 9   whether two separate corporations owned by a single entity should be considered a
10   single employer.”). Accordingly, mandatory withdrawal is also warranted in this
11   case because of the complexity of the issue of joint and several liability.
12         B.     Cause Exists for Permissive Withdrawal of the Reference.
13         Permissive withdrawal of the reference is also appropriate in this case for
14   “cause shown.” See 28 U.S.C. § 157(d) (in relevant part, specifying that district
15   courts may grant permissive withdrawal for cause shown). In deciding whether to
16   grant permissive withdrawal, courts consider whether the underlying claims are
17   core or non-core as one factor in a multi-factor balancing test. Courts also consider
18   efficient use of judicial resources, delay and costs to the parties, uniformity of
19   bankruptcy administration, prevention of forum shipping, and other related factors.
20   E.g., Security Farms v. Int’l Bhd. of Teamsters, 124 F.3d 999, 1009-10 (9th Cir.
21   1997) (discussing factors that inform whether to grant permissive withdrawal).
22   Here permissive withdrawal is strongly supported both by the reasons discussed
23   above and by the general permissive withdrawal factors.
24                1.     Plaintiff’s Complaint Arises Entirely Outside of the
25                       Bankruptcy Statute and so Consists of Non-Core Claims.

26         It is well settled that “[t]he applicable test for what constitutes a non-
27   core matter is whether the right invoked is not one created by federal bankruptcy
28   law and is one which could exist outside the bankruptcy court. If the answer to

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 21 of 95 Page ID #:21




 1   each of these questions is yes, then the claim is designated as non-core.” Oakview
 2   Terrace v. Owens Fin. Group (In re Oakview Terrace), 1994 U.S. Dist. LEXIS
 3   825, *6 (N.D. Cal. Jan. 25, 1994) (citing In re Eastport Assoc., 935 F.2d 1071,
 4   1076-77 (9th Cir. 1991)). Stated in the reverse, “[a] cause of action is core and
 5   ‘aris[es] under’ the Bankruptcy Code if it is ‘created or determined by a statutory
 6   provision of title 11,’ while ‘arising in’ refers to proceedings that are ‘not based on
 7   any right expressly created by title 11, but nevertheless, would have no existence
 8   outside of the bankruptcy.’” In re Fraser's Boiler Serv., 2019 U.S. Dist. LEXIS
 9   37840, *10 (W.D. Wash. Mar. 8, 2019).
10         Here, all of CNA’s claims are completely independent of bankruptcy law.
11   And all these claims could have been brought in the absence of any bankruptcy.
12   Three of the four causes of action are based entirely on state law: California
13   WARN Act, fraud, and negligence. These are quintessential non-core claims. E.g.
14   Henderson v. Bank of Am. N.A. (In re Simmons), 510 B.R. 76, 87 n.18 (Bankr. S.D.
15   Miss. 2014) (“[I]f a claim is based on state law and the claim could arise outside of
16   the context of a bankruptcy proceeding, then it is not a core proceeding.”) (quoting
17   Sago v. Wal-Mart Stores, Inc., 280 F. Supp. 2d 578, 587 (S.D. Mass 2003)).
18   CNA’s Federal WARN Act claims are likewise the type of civil proceeding that
19   could have been brought in state or district court in the absence of a related
20   bankruptcy matter. For that reason, the Federal WARN Act cause of action is also
21   a non-core proceeding. E.g., In re Colorado Energy Supply, 728 F.2d 1283, 1286
22   (10th Cir. 1984) (“Related proceedings are those civil proceedings that, in the
23   absence of a petition in bankruptcy, could have been brought in a district court or
24   state court.”); Johnson v. First NLC Fin. Servs., LLC (In re First NLC Fin. Servs.,
25   LLC), 410 B.R. 726, 731 (Bankr. S.D. Fla. 2008) (assessing motion to dismiss of
26   non-debtor alleged to be single employer and finding that WARN Act claims
27   against the non-debtor were related to bankruptcy but were “not a core proceeding”
28   because the claims “did not involve a bankruptcy right” and are claims “typically

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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 22 of 95 Page ID #:22




 1   brought outside of bankruptcy court”).
 2         The only reason that CNA filed its Complaint in bankruptcy court is because
 3   it is “related to” the Institutional Defendants’ bankruptcy case since any recovery
 4   from this lawsuit may impact the administration of the bankruptcy estate. Thus, it
 5   is referred under C.D. Cal. General Order 266. Green v. FDIC (In re Tamalpais
 6   Bancorp), 451 B.R. 6, 11 (N.D. Cal. 2011). However, “the mere fact that the
 7   proceeding may ultimately affect the size of the estate does not mandate that the
 8   proceeding is a core proceeding.” Air Line Pilots Ass’n Int’l v. Pension Ben. Guar.
 9   Corp. (In re United Air Lines, Inc.), 337 B.R. 904, 910 (N.D. Ill. 2006) (collecting
10   examples of cases in which size of estate was impacted by non-core claims); In re
11   Tamalpais Bancorp, 451 B.R. at 10 (A case having a “profound impact on the
12   bankruptcy proceedings” is not enough to transform a claim “that could have been
13   brought even if the Debtor had never filed for bankruptcy” into a core claim.).
14   Instead, the bottom-line is that if, as here, “the proceeding does not invoke a
15   substantive right created by the federal bankruptcy law and is one that could exist
16   outside of bankruptcy, it is not a core proceeding” even if “it may be related to the
17   bankruptcy because of its potential effect[.]” Wisdom v. Gugino (In re Wisdom),
18   2015 Bankr. LEXIS 1532, at *8 (Bankr. D. Idaho May 5, 2015) (quoting Eastport
19   Assocs. v. City of Los Angeles (In re Eastport Assocs.), 935 F.2d 1071, 1076 (9th
20   Cir. 1991).
21         Because none of the causes of action in CNA’s complaint invoke or depend
22   on rights created by bankruptcy law, and because all these claims could be brought
23   even if none of the Defendants were involved in a bankruptcy, CNA’s claims are
24   all non-core. This factor thus weighs in favor of permissive withdrawal.
25   ///
26   ///
27   ///
28   ///

                                               22
     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 23 of 95 Page ID #:23




 1                 2.     Permissive Withdrawal Would Support the Efficient Use of
                          Judicial Resources.
 2
            The efficient use of judicial resources likewise supports withdrawal of the
 3
     reference for CNA’s Complaint. First, CNA filed this Complaint as an adversary
 4
     proceeding on March 5, 2020 — just two weeks before filing this motion to
 5
     withdraw the reference. And Defendants have yet to answer it. Accordingly, the
 6
     Bankruptcy Court has yet to expend any meaningful judicial resources on this
 7
     matter.
 8
            Second, as an Article I court, a bankruptcy court cannot enter final judgment
 9
     on common-law and state law claims. Stern v. Marshall, 564 U.S. 462, 465(2011);
10
     Blixseth v. Brown, 470 B.R. 562, 570 (D. Mont. 2012). Specifically, the Stern
11
     Court ruled that an Article I court cannot exercise “the most prototypical exercise
12
     of judicial power: the entry of a final binding judgment by a court with broad
13
     substantive jurisdiction, on a common law cause of action, when the action neither
14
     derives from nor depends upon any agency regulatory regime.” Stern, 564 U.S. at
15
     494 (emphasis in original). Thus, the bankruptcy court may not enter final
16
     judgments on dispositive motions for CNA’s claims for fraudulent concealment
17
     and negligent representation which are the type of common-law state claims
18
     encompassed by the Stern Court ruling. Accordingly, the District Court will
19
     ultimately have to consider these issues de novo, even if the Bankruptcy Court has
20
     already issued a recommendation. See, e.g., Verity Health System of California v.
21
     Chaudhuri, 2:20-cv-00613-DSF, Dkt. No. 23 (C.D. Cal. March 5, 2020). For this
22
     reason, it would be more efficient to have the District Court manage this matter in
23
     the first instance. Id.
24
            Third, Plaintiff has a right to a jury trial on all four causes of action, has
25
     demanded a jury trial, and does not consent to having the matter instead heard by
26
     the Bankruptcy Court. See Granfinanciera, S.A. v. Nordberg, 109 S. Ct. 2782
27
     (1989) (holding that state law claims which “include legal as opposed to strictly
28
     equitable elements” and which seek monetary relief “are entitled to a jury trial,

                                                 23
     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 24 of 95 Page ID #:24




 1   under the Seventh Amendment”); Carlberg v. Guam Indus. Servs., 2017 U.S. Dist.
 2   LEXIS 164619, *7-9 (D. Guam 2017) (explaining that there is a right to jury trial
 3   for WARN Act claims); Cal. Code Civ. Pro § 592 (right to jury trial in negligence
 4   claims). Furthermore, under 28 U.S.C. § 157(e), a bankruptcy court may only
 5   conduct a jury trial with the consent of all parties. CNA does not consent to any
 6   jury trial before the Bankruptcy Court. This further militates in favor of
 7   permissive withdrawal. E.g., Gumport v. Growth Fin. Corp. (In re Transcon
 8   Lines), 121 B.R. 837, 838 (C.D.Cal. 1990) (explaining that defendant’s right to
 9   jury trial before district court weighed in favor of withdrawal in the interest of
10   efficient use of judicial resources).
11         Ultimately, because the bankruptcy court has yet to consider these issues and
12   cannot issue a final decision, and because Plaintiff has a right to a jury trial before
13   an Article III judge, consideration of judicial efficiency weighs in favor of
14   withdrawal. This is especially true because, as outlined in the above section on
15   mandatory withdrawal, this case presents a novel issue of interpretation based on
16   the purpose of the WARN Act, and while the district courts routinely tackle legal
17   issues of first impression in many areas of the law, bankruptcy courts do not. For
18   this reason too, it would be more efficient for the District Court to handle this
19   matter in the first instance.
20
                  3.     Withdrawal of the Reference Would Not Increase Delay or
21                       Costs to the Parties.
22         Consideration of potential delay and costs to the Parties likewise supports
23   withdrawal. As of the date of this Motion, Defendants’ deadline to respond to the
24   Complaint has not yet passed and none of the Parties have initiated discovery. On
25   the contrary, as noted above, because the Bankruptcy Court lacks authority to
26   finally adjudicate these claims, the Parties’ resources will be preserved by
27   withdrawal to ensure avoidance of any duplicate proceeding. For these reasons,
28   consideration of cost to the Parties supports withdrawal in this case.


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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 25 of 95 Page ID #:25




 1                4.    Withdrawal of the Reference Does Not Implicate Uniform
                        Administration of Bankruptcy Law.
 2
           As noted above, the only causes of action in Plaintiff’s Complaint are
 3
     Federal WARN Act claims, and California WARN Act, fraud, and negligence
 4
     claims. This case does not involve any question of bankruptcy law. Accordingly,
 5
     the uniform administration of bankruptcy law is not implicated. See, e.g.,
 6
     McMahon v. Providence Capitol Enters., Inc. (In re McMahon), 222 B.R. 205
 7
     (S.D.N.Y. 1998) (granting a motion to withdraw the reference in a breach of
 8
     contract case because uniformity of bankruptcy law would not be affected as the
 9
     breach claim did not turn on questions of bankruptcy law).
10
                  5.     Permissive Withdrawal Does Not Implicate Forum
11
                         Shopping.
12         This Adversary Proceeding is in its infancy. The Bankruptcy Court has not
13   yet taken any action on this matter. It has not issued any related unfavorable
14   rulings against CNA related to this case. And as a result, CNA is not motivated to
15   seek a friendlier venue, but instead asserts that the District Court is the proper
16   venue for CNA’s Complaint for all the reasons discussed above. Accordingly,
17   withdrawal in this case does not implicate forum shopping concerns.
18         In sum, analyzing the permissive withdrawal factors indicates that the
19   District Court should exercise its discretion to withdraw the reference in this matter
20   because: (1) CNA’s Complaint involves non-core causes of action, (2) withdrawal
21   will promote efficient use of judicial resources; (3) the parties will not incur
22   increased cost or delay on account of withdrawal; (4) withdrawal does not
23   implicate the uniform administration of substantive bankruptcy law; and (5) none
24   of the concerns typically associated with forum shopping litigants are present.
25   ///
26   ///
27   ///
28   ///

                                               25
     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 26 of 95 Page ID #:26




 1                                   IV.    CONCLUSION
 2         In short, the Complaint underlying this Motion ought to be heard in the
 3   District Court. Mandatory withdrawal of the reference is triggered because this
 4   case presents several substantial and material issues of non-bankruptcy federal law.
 5   And permissive withdrawal is warranted because these are non-core claims,
 6   including several complex state law issues, that all carry a right to a jury trial,
 7   which Plaintiff does not waive. For all these reasons, CNA respectfully requests
 8   this Court withdraw the reference in this matter.
 9
10   Dated: March 19, 2020                    Respectfully submitted,
11
                                              CALIFORNIA NURSES ASSOCIATION
12                                            LEGAL DEPARTMENT
13
14
                                              By:_/s/Carol A. Igoe
15                                               Carol A. Igoe
16
                                                 Counsel for Plaintiff
                                                 California Nurses Association
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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 27 of 95 Page ID #:27




                        EXHIBIT 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         28 of 95  Page IDDesc
                                                                           #:28
                       Main Document     Page 1 of 66



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 8
                        UNITED STATES BANKRUPTCY COURT
 9
              CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10
     In Re                                               )   Lead Case No.: 2:18-bk-20151-ER
11
                                                         )
                                                         )   Jointly Administered With:
     VERITY HEALTH SYSTEM OF                             )   Case No. 2:18-bk-20162-ER
12   CALIFORNIA, INC., et. al.,                          )   Case No. 2:18-bk-20163-ER
13
                                                         )   Case No. 2:18-bk-20164-ER
                  Debtors and Debtors in Possession. )       Case No. 2:18-bk-20165-ER
14   _____________________________________ ))                Case No. 2:18-bk-20166-ER
                                                             Case No. 2:18-bk-20167-ER
      □ Affects All Debtors                              )   Case No. 2:18-bk-20168-ER
15    ■ Affects Verity Health System of California, Inc. )   Case No. 2:18-bk-20169-ER
     □ Affects O’Connor Hospital                         )   Case No. 2:18-bk-20170-ER
16
      □ Affects Saint Louise Regional Hospital           )   Case No. 2:18-bk-20171-ER
                                                         )   Case No. 2:18-bk-20172-ER
17    ■ Affects St. Francis Medical Center               )   Case No. 2:18-bk-20173-ER
      ■ Affects St. Vincent Medical Center               )   Case No. 2:18-bk-20175-ER
18
     ■ Affects Seton Medical Center                      )   Case No. 2:18-bk-20176-ER
     □ Affects O’Connor Hospital Foundation              )   Case No. 2:18-bk-20177-ER
19
     □ Affects Saint Louise Regional Hospital Foundation )   Case No. 2:18-bk-20178-ER
                                                         )   Case No. 2:18-bk-20179-ER
20   □ Affects St. Francis Medical Center of Lynwood     )   Case No. 2:18-bk-20180-ER
         Foundation                                      )   Case No. 2:18-bk-20181-ER
21   □ Affects St. Vincent Foundation                    )
     ■ Affects St. Vincent Dialysis Center, Inc.         )   Chapter 11 Cases
22
     □ Affects Seton Medical Center Foundation           )
     □ Affects Verity Business Services                  )   Hon. Ernest M. Robles
23
                                                         )
     □ Affects Verity Medical Foundation                 )   Adversary No. _________________.
24    ■ Affects Verity Holdings, LLC                     )
     ■ Affects De Paul Ventures, LLC                     )   COMPLAINT FOR DAMAGES, CIVIL
25
      ■ Affects De Paul Ventures – San Jose ASC, LLC     )   PENALTIES, ATTORNEYS FEES
                                                         )
26
                                                         )       1. Workers Adjustment Training and
                  Debtors and Debtors in Possession. )              Notification Act (“Warn Act”) 29
27
                                                         )          U.S.C. §§ 2101, et. seq.
                                                         )
28
                                                         )       2. California WARN Act, California



                                                Exhibit 1
                                                000028
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         29 of 95  Page IDDesc
                                                                           #:29
                       Main Document     Page 2 of 66


                                                          Labor Code § 1400, et. seq.
 1                                                 )
                                                   )   3. Intentional Misrepresentation by
 2                                                 )      Concealment
                                                   )
 3                                                 )   4. Negligent Misrepresentation
                                                   )
 4                                                 )      JURY TRIAL DEMANDED
                                                   )
 5                                                 )
 6

 7
     CALIFORNIA NURSES ASSOCIATION                 )
     (CNA)                                         )
 8
                                                   )
                                                   )
 9                     Plaintiff,                  )
                                                   )
10
     v.                                            )
                                                   )
11
                                                   )
     VERITY HEALTH SYSTEMS OF                      )
12   CALIFORNIA, INC., a California                )
     Corporation; ST. FRANCIS MEDICAL              )
13
     CENTER, an Affiliate; ST. VINCENT             )
                                                   )
14   MEDICAL CENTER, an Affiliate; SETON           )
     MEDICAL CENTER, an Affiliate; ST.             )
15   FRANCIS MEDICAL CENTER OF                     )
     LYNWOOD, an Affiliate; ST. VINCENT            )
16
     DIALYSIS CENTER, INC., an Affiliate;          )
                                                   )
17   VERITY HOLDINGS, LLC, an Affiliate;           )
     DEPAUL VENTURES, LLC, an Affiliate;           )
18
     RICHARD ADCOCK, an Individual;                )
     STEVEN SHARRER, an Individual, and            )
19
     DOES 1 through 500,                           )
                                                   )
20                                                 )
                         Defendants.               )
21

22

23

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28




                                       Exhibit 1   2
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         30 of 95  Page IDDesc
                                                                           #:30
                       Main Document     Page 3 of 66



 1             Plaintiff California Nurses Association (“CNA”), alleges as follows:
 2                                    PRELIMINARY STATEMENT
 3             Well after they knew it was not true and that closure of St. Vincent Medical Center was
 4   imminent, Defendants continued to lead the St. Vincent Medical Center registered nurses and
 5   their labor representative, CNA, to believe that the hospital’s operations, and therefore the
 6   nurses’ continued employment, was secure. By this deception, Defendants avoided the risk that
 7   when nurses learned the truth, they would seek other employment, thereby forcing Defendants
 8   to incur additional costs to maintain the nursing staff necessary to keep the hospital going until
 9   the Defendants were prepared to close it entirely. By stringing the nurses along in this way,
10   Defendants failed to give the required state and federal WARN Act disclosures and notices. By
11   these actions Defendants also committed fraud in the form of Intentional Misrepresentation by
12   Concealment, as well as Negligent Misrepresentation directly harming both CNA and the
13   nurses.
14                                    JURISDICTION AND VENUE
15             1.     This is an action arising under the Federal Worker Adjustment and Retraining
16   Notification Act (“Federal WARN Act”), 29 U.S.C. §§ 2101, et seq., under the California
17   WARN Act, California Labor Code §§ 1400, et seq., and California state tort law for damages
18   resulting from the Defendants’ failure to provide sixty days’ notice, as required by both the
19   Federal WARN Act and the California WARN Act, prior to laying off nearly 400 nurses who
20   were employed at St. Vincent Medical Center in Los Angeles, California and related

21   misrepresentations to them about the future operations of the hospital.

22             2.     The Bankruptcy Court has jurisdiction over this adversary proceeding (the

23   “Action”), pursuant to 28 U.S.C. §§ 157 and 1334.

24             3.     The Action involves related proceedings pursuant to 28 U.S.C. § 157(b)(2).

25             4.     Venue is proper pursuant to 28 U.S.C. § 1409 because the Action is related to

26   the above captioned bankruptcy cases (the “Bankruptcy Cases”) pending in the United States

27   Bankruptcy Court of the Central District of California, Los Angeles Division (the “Bankruptcy

28   Court”).




                                              Exhibit 1   3
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         31 of 95  Page IDDesc
                                                                           #:31
                       Main Document     Page 4 of 66



 1           5.      The Court has jurisdiction over the Defendants because they did business in this
 2   District and a substantial part of the events giving rise to Plaintiff’s claim occurred in this
 3   District.
 4           6.      Having demanded a jury trial, Plaintiff does not consent to this Bankruptcy
 5   Court trying the case. Plaintiff instead requests trial before the District Court.
 6                                             THE PARTIES
 7           Plaintiff

 8           7.      CNA is a “representative” as defined in 29 U.S.C. § 2101(a)(4), of a unit of

 9   affected nurses who were employed by Defendants until they were terminated without proper

10   notice as part of mass layoffs and/or plant closings that began on about January 14, 2020.

11   Defendants’ actions directly harmed both CNA and the affected nurses. CNA brings this

12   Action on behalf of itself and, in its representative capacity, on behalf of the affected nurses.

13           Defendants

14           8.      Verity Health Systems, Inc. (“Verity”) is a California nonprofit public benefit

15   corporation located at 601 S. Figueroa, Suite 4050, Los Angeles, California, and the sole

16   corporate member of St. Vincent Medical Center, St. Vincent Dialysis Center, St. Francis

17   Medical Center, and Seton Medical Center (“Defendant Hospitals”).

18           9.      St. Vincent Medical Center (“St. Vincent”) is a California nonprofit public

19   benefit corporation located at 2131 West Third Street in Los Angeles, California, doing

20   business in the County of Los Angeles. Until the middle of January of 2019, St. Vincent

21   provided hospital and ancillary medical services on an inpatient and outpatient basis.

22           10.     St. Vincent Dialysis Center is a California nonprofit public benefit corporation

23
     and wholly owned subsidiary of St. Vincent Medical Center located at 201 S. Alvarado Street

24
     in Los Angeles, California doing business in the County of Los Angeles. Until the middle of

25
     January of 2019, St. Vincent Dialysis Center provided dialysis medical services. Unless

26
     otherwise indicated, the term “St. Vincent” will also encompass St. Vincent Dialysis Center.

27
             11.     St. Francis Medical Center (“St. Francis”) is a California nonprofit public

28
     benefit corporation located at 3630 East Imperial Highway in Lynwood, California, doing




                                              Exhibit 1   4
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         32 of 95  Page IDDesc
                                                                           #:32
                       Main Document     Page 5 of 66



 1   business in the County of Los Angeles. St. Francis provides hospital and ancillary medical
 2   services on an inpatient and outpatient basis.
 3          12.     Seton Medical Center (“Seton”) is a California nonprofit public benefit
 4   corporation with two hospitals located at 1900 Sullivan Avenue in Daly City, California and at
 5   600 Marine Boulevard, Moss Beach, California. Seton does business at each of these locations
 6   in the County of San Mateo, providing hospital and ancillary medical services on an inpatient
 7   and outpatient basis.

 8          13.     Verity Holdings, LLC (“Holdings”) is a California limited liability company,

 9   located at 1850 Sullivan Avenue in Daly City, California. Holdings was created in 2016 to

10   hold and finance Verity’s interest in medical office buildings whose tenants are primarily

11   physicians, medical groups, healthcare providers, and some of the Defendant Hospitals.

12   Holdings is a direct subsidiary of its sole member Verity.

13          14.     DePaul Ventures, LLC (“DePaul Ventures”) is a wholly-owned and operated

14   holding company of Verity Health Systems, Inc. DePaul Ventures was formed in 2010 for the

15   purpose of investing in a freestanding surgery center and other healthcare entities.

16          15.     This Complaint refers to Verity, St. Vincent, St. Vincent Dialysis Center, St.

17   Francis, Seton, Holdings, and DePaul Ventures as the “Institutional Defendants.”

18          16.     At all times relevant herein, the Institutional Defendants have been and are an

19   employer as defined in the Worker Adjustment and Retraining Notification Act (“WARN”), 29

20   U.S.C. § 2101(a)(1)(A) and California Labor Code § 1400, et seq. (“Cal-WARN Act”).

21          17.     At all times relevant herein, the Institutional Defendants have been and are joint

22   employers.

23
            18.     At all times relevant herein, the Institutional Defendants have been and are a

24
     single employer/integrated enterprise.

25
            19.     Richard Adcock is an individual. At all times relevant herein, he was the Chief

26
     Executive Officer of Verity and exercised control and influence over key decisions at issue in

27
     this Complaint.

28
            20.     Steven Sharrer is an individual. At all times relevant herein, he was the Chief




                                              Exhibit 1   5
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         33 of 95  Page IDDesc
                                                                           #:33
                       Main Document     Page 6 of 66



 1   Human Resources Officer of Verity and exercised control and influence over key decisions at
 2   issue in this Action.
 3             21.    This Complaint refers to Richard Adcock and Steven Sharrer as the “Individual
 4   Defendants.”
 5             22.    Plaintiffs are ignorant of the true names or capacities of the defendants sued
 6   under fictitious names Does 1 through 500, inclusive. Plaintiffs are informed and believe that
 7   each of the defendants designated as a Doe is responsible in some manner for the events and

 8   happenings alleged herein.

 9                                      FACTUAL BACKGROUND

10             23.    On about August 31, 2018, the Institutional Defendants filed a bankruptcy

11   petition for Chapter 11 relief in this Court.

12             24.    On about May 2, 2019, this Court issued an order, inter alia, approving the Asset

13   Purchase Agreement (“APA”) entered into between Strategic Global Management (“SGM”)

14   and Verity, St. Vincent, St. Francis, Seton, and Holdings [Docket No. 23061]. Under the APA,

15   SGM would acquire St. Vincent, St. Francis, and Seton [Id.].

16             25.    Under Section 5.3 of the APA, as a condition of closing, SGM was required to

17   offer employment “to substantially all persons (whether such person are full time employees,

18   part-time employees, on short-terms or long-term disability or on leave of absence, military

19   leave or workers compensation leave) who . . . are: (i) employees of any Seller; (ii) employees

20   of any affiliate of any Seller. . . (iii) employed by an affiliate of any Seller . . .” [Docket No.

21   1279].

22             26.    The terms and conditions of the St. Vincent nurses’ employment were governed

23
     by a collective bargaining agreement (“CBA”) between St. Vincent and CNA. The CBA is

24
     effective December 22, 2016 to December 21, 2020.

25
               27.     Beginning on about July 25, 2019, CNA, Verity, and SGM negotiated a new

26
     1
         All docket references refer to In re Verity Health Systems, Case No. 2:18-bk-20151 (Bankr.
27
     C.D. Cal. 2018) unless otherwise noted.
28




                                               Exhibit 1   6
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         34 of 95  Page IDDesc
                                                                           #:34
                       Main Document     Page 7 of 66



 1   CBA that would govern the terms and conditions of employment of the St. Vincent nurses after
 2   SGM took over ownership of the hospital.
 3          28.     On August 12, 2019, Verity provided a “Notice Pursuant to Worker Adjustment
 4   and Retraining Notification Act and the California WARN Act” signed by Mr. Steven Sharrer
 5   to CNA Representative Andrew Prediletto and the St. Vincent nurses [See attached Exhibit 1].
 6   This initial notice advised that the Bankruptcy Court had entered an order approving the sale of
 7   St. Vincent to SGM and that they expected the sale to close between October 18 and October

 8   31, 2019.

 9          29.     The August 12 notice also stated: “The closing of the Sale is subject to certain

10   regulatory and other approvals and the satisfaction of certain other conditions agreed to

11   between the Debtors and the Purchaser. While the Debtors are optimistic that the Sale will

12   close, there is a possibility that the Sale will be unsuccessful.”

13          30.     The August 12 notice further stated that SGM agreed “to make offers of

14   employment to substantially all of St. Vincent’s employees” but that “[f]or those employees, if

15   any, who are not hired by the Purchaser, the employment loss is expected to be permanent”

16   [emphasis added]. The notice contained a list of 401 positions and names of nurses in the

17   bargaining unit then currently holding jobs to be affected by the sale [Id.]. CNA and the nurses

18   reasonably understood this notice to mean that substantially all 401 nurses should expect their

19   employment to continue upon closure of the sale to SGM.

20          31.     On August 23, 2019, as part of its opposition to any additional conditions

21   imposed by the California Attorney General on the sale of Defendant Hospitals to SGM, Verity

22   represented to this Court that failure to consummate the SGM sale would likely result in the

23
     closure of St. Vincent and Seton hospitals [Docket No. 2946].

24
            32.     On September 19, 2019, CNA, SGM, and Verity reached agreement on a new

25
     CBA that would apply once SGM acquired St. Vincent and Seton [Docket No. 3604].

26
            33.     On October 23, 2019, Verity issued a WARN extension notice (the “October

27
     WARN Notice”). That notice stated: “Verity Health System of California, Inc. and certain

28
     affiliates entered into a Court approved agreement (“Agreement”) to sell substantially all of the




                                               Exhibit 1   7
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         35 of 95  Page IDDesc
                                                                           #:35
                       Main Document     Page 8 of 66



 1   assets of [the hospitals, including St. Vincent,] to Strategic Global Management, Inc.” The
 2   notice further stated: “The Agreement requires satisfaction of certain milestones to complete
 3   the Sale. Not all of the milestones have been met. Consequently, the separations of
 4   employment must be postponed and will not occur at the time originally anticipated. At this
 5   time, we anticipate the Sale and separations of employment will occur between November 17,
 6   2019 and November 30, 2019.” And that notice assured CNA that “[w]e will continue to keep
 7   you apprised of any new developments and will provide you with updated information should

 8   circumstances change with respect to the Sale and the separations of employment.” [See

 9   attached Exhibit 2].

10          34.     Nothing in the October Warn Notice indicated any uncertainty about whether

11   the sale would close, only when. Because the October WARN Notice plainly stated that the

12   Defendants anticipated close of the sale and because Defendants had previously represented

13   that SGM would continue to employ substantially all the nurses, this notice effectively

14   communicated to CNA and the St. Vincent nurses that substantially all the nurses’ employment

15   would continue.

16          35.     On November 13, 2019, Verity filed a motion to approve the modifications to

17   the CBA and resolve other issues between the parties [Docket No. 3604].

18          36.     Between about November 13 and November 26, 2019, Verity engaged in

19   approximately four to five effects bargaining sessions with CNA over severance for the nurses

20   who would not be hired by SGM at the close of the sale. In this process, Verity identified

21   around nine nurses whose employment it expected would not be continued after closing the

22   sale. Verity communicated to CNA that all other employees would be hired by SGM. At no

23
     time during these bargaining sessions did Verity express doubt or concern that SGM would

24
     consummate the sale. Based on these bargaining sessions, CNA and the nurses believed that

25
     “substantially all” meant at all but nine of the nurses would continue employment once the

26
     SGM sale closed, and the approximately nine nurses whose employment did not continue

27
     would receive severance pay.

28
            37.     Based on information and belief, on about November 18, SGM’s CEO, Peter




                                            Exhibit 1   8
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                       Document  1 03/05/20   Entered
                                    Filed 03/19/20    03/05/20
                                                    Page        14:43:43
                                                         36 of 95  Page IDDesc
                                                                           #:36
                       Main Document     Page 9 of 66



 1   Baronoff, telephoned Verity’s Investment Banker, Carsten Beith, to inform Verity that SGM
 2   could not obtain sufficient financing to close the sale [Verity Health Systems, Inc. v. Strategic
 3   Global Management, 2:20-ap-01001-ER (Bankr. C.D. Cal. January 22, 2020), Docket No. 1].
 4   Immediately after receiving this information, Verity requested a continuance of the hearing for
 5   its motion to approve its disclosure statement [Id.]. This Court granted Verity’s request for
 6   continuance and ordered that Verity submit a “Plan B” to the Court regarding Verity’s plan for
 7   resolving the bankruptcy case should SGM fail to close the sale.

 8          38.     On November 20, 2019, Verity sent a letter to SGM representing that all of the

 9   conditions in the APA had been met on November 19, and, consequently, SGM was obligated

10   to close by December 5, 2019 [Id.].

11          39.     On November 22, 2019, SGM responded to Verity complaining of various

12   issues which amounted to a “Material Adverse Effect” under the APA and that prevented SGM

13   from closing [Id.].

14          40.     On November 22, 2019, Verity filed a motion with this Court for permission to

15   file its “Plan B” should SGM not consummate the sale. The motion was filed under seal and

16   represented that “SGM has yet to provide the Debtors with specific information regarding their

17   intentions for the SGM sale” [Docket No. 3678]. In this same motion, Verity also noted that it

18   did not want to file Plan B publicly because it “may have an adverse impact on operations and

19   employee morale” [Id.]. This admission reveals that Verity did not want its employees to learn

20   that Verity planned to permanently shut down St. Vincent if, as by then Verity believed to be

21   likely, the SGM sale fell through.

22          41.     On about November 25, 2019, Mr. Steven Sharrer, Verity’s Chief Human

23
     Resources Officer, sent a WARN extension notice (“November WARN Notice”) to CNA

24
     representative Andrew Prediletto informing him that it anticipated the sale of St. Francis, St.

25
     Vincent, and Seton to SGM would close between December 6, 2019 and December 19, 2019

26
     [See Attached Exhibit 3].

27
            42.     Defendants’ November WARN Notice also stated that the Defendants were

28
     continuing “to work expeditiously for a prompt close of the sale with SGM” [Id.]. Verity also




                                              Exhibit 1   9
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          37 of 95  Page IDDesc
                                                                            #:37
                       Main Document     Page 10 of 66



 1   advised that in support of its efforts to promptly close the sale, Defendants had obtained a court
 2   order regarding the Attorney General conditions and reached settlement with the U.S.
 3   Department of Health and Human Services, two crucial matters that had to be resolved for sale
 4   closing [Id.].
 5           43.      Defendants’ November WARN Notice failed to disclose the fact that SGM had
 6   already informed Verity it did not have the financing to close and, in any event, believed it was
 7   not required to close [Id.]. Furthermore, while the notice proudly announced its settlement

 8   agreement with the U.S. Department of Health and Human Services, it neglected to mention

 9   that Verity did not yet have a settlement agreement with the California Department of

10   Healthcare Services (DCHS). Based on information and belief, if Verity failed to execute a

11   settlement agreement with DCHS, DCHS would have a potential recoupment claim against

12   SGM (as the purchaser) for $80 million. This outstanding liability and lack of funds would and

13   ultimately did impact SGM’s ability and willingness to close the sale. Because Defendants had

14   already represented to CNA that SGM would continue the employment of substantially all

15   CNA members, Defendants’ November WARN Notice amounted to false assurance that CNA

16   members would likely keep their jobs because of the impending sale, when in fact Defendants

17   already knew that the sale was unlikely to close.

18           44.      By the actions described in Paragraphs 27-30, 32-36, and 40-43, Defendants led

19   CNA to believe that closure of the SGM sale was imminent and that substantially all of CNA’s

20   members at St. Vincent would retain their jobs after SGM purchased the hospital [Docket No.

21   36042]. By these same actions, Defendants led the nurses working at St. Vincent to believe

22   that closure of the SGM sale was imminent and that as a result, substantially all the nurses at St.

23
     Vincent would retain their jobs. Upon information and belief, St. Vincent registered nurses

24
     relied on Defendants’ repeated assurances that it expected to promptly close the sale to SGM,

25
     and as a result, did not seek other employment when they otherwise would have.

26
             45.      On November 26, 2019, this Court ordered that SGM close the sale by

27

28




                                             Exhibit 1   10
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          38 of 95  Page IDDesc
                                                                            #:38
                       Main Document     Page 11 of 66



 1   December 5, 2019 [Docket No. 3724].
 2          46.     On December 4, 2019, this Court held a hearing on Verity’ motion to approve
 3   the modifications to the CBA and granted said motion in its entirety [Docket No. 3755].
 4          47.     On December 5, 2019, SGM failed to close the sale by the deadline in the APA,
 5   and there was no reason to expect that it would do so in the future. The Defendants did not
 6   amend the November WARN Notice at that time or take any other action to inform CNA or the
 7   St. Vincent nurses that it was increasingly likely that the SGM sale would not close or that if

 8   the sale to SGM did not close, it was likely that Defendants would permanently shut down the

 9   St. Vincent Medical Center in very short order.

10          48.     By December 16, 2019, at the latest, Defendants had already begun meeting

11   with professional consultants to develop plans to permanently shut down St. Vincent.

12          49.     On December 17, 2019, Verity called SGM and advised SGM that Verity was

13   terminating the APA, effective December 27, 2019, as a result of SGM’s failure to close the

14   sale on December 5 [Verity Health Systems, Inc. v. Strategic Global Management, 2:20-ap-

15   01001-ER (Bankr. C.D. Cal. January 22, 2020), Docket No. 20]. The Defendants did not

16   amend the November WARN Notice at that time or take any other action to inform CNA or the

17   St. Vincent nurses that the SGM sale would not close or that because the SGM would not close,

18   it was likely that Defendants would permanently shut down the St. Vincent Medical Center.

19          50.     On December 18, 2019, Rich Adcock emailed the nurses, informing them that

20   SGM did not close the sale as required by the bankruptcy court, and so their employment with

21   Verity would “NOT end on December 19, 2019” as Verity had previously anticipated. This

22   email communication did not disclose that Defendants anticipated permanently closing St.

23
     Vincent because the sale to SGM had fallen though. It did not disclose that it was likely that

24
     the St. Vincent nurses would all lose their jobs as a result. The notice merely stated that Verity

25
     would advise them of “any further developments relating to [their] employment” [See attached

26
     Exhibit 4].

27
            51.     Upon information and belief, St. Vincent registered nurses relied on Defendants’

28
     December 18 assurance that their employment with Verity would “NOT end,” and as a result,




                                             Exhibit 1   11
                                             000038
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          39 of 95  Page IDDesc
                                                                            #:39
                       Main Document     Page 12 of 66



 1   did not seek other employment.
 2             52.   By December 19, 2019, at the latest, Defendants’ counsel began researching
 3   whether they could shoe-horn the planned permanent closure of St. Vincent into an exception
 4   to the WARN Acts, which would enable them to avoid civil penalties for having failed to
 5   timely disclose the planned shutdown.
 6             53.   Effective December 27, 2019, Verity terminated the APA between it and SGM
 7   [Docket No. 3899]. Defendants did not amend the November WARN Notice at that time or

 8   take any other action to inform CNA or the St. Vincent nurses that because the SGM would not

 9   close, it was likely that Defendants would permanently shut down the St. Vincent Medical

10   Center.

11             54.   On January 6, 2020, Verity filed an emergency motion with this Court to shut

12   down St. Vincent [Docket No. 3906]. In this Motion Verity expressed concern that once the

13   fact that it was seeking authorization to shut down St. Vincent was public, the turnover of

14   nursing staff would be “likely to accelerate, making maintenance of high quality patient care

15   more difficult, and, to the extent that temporary nursing replacements are required, significantly

16   more expensive” [Docket No. 3906]. Defendants did not amend the November WARN Notice

17   at that time.

18             55.   On January 8, 2020, this Court granted Defendants’ emergency motion to shut

19   down St. Vincent. Defendants did not amend the November WARN Notice at that time.

20             56.   On January 9, 2020 at 7:00 a.m., Defendants permanently shut down St.

21   Vincent’s emergency department [Docket No. 3982]. Defendants did not amend the November

22   WARN Notice at that time.

23
               57.   On January 13, 2020, Verity’s Chief Human Resources Officer, Mr. Steven

24
     Sharrer, emailed Mr. Prediletto a new WARN notice dated January 10, 2020 (“January WARN

25
     Notice”). This notice did not refer to itself as an extension to the November WARN Notice

26
     [See attached Exhibit 5]. The January WARN Notice stated that closure and separations of

27
     employment at St. Vincent Medical Center would occur between January 14, 2019 and January

28
     27, 2020 [Id.]. The January WARN Notice asserted that Defendants had previously expected




                                             Exhibit 1   12
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          40 of 95  Page IDDesc
                                                                            #:40
                       Main Document     Page 13 of 66



 1   the SGM sale to close, but that it did not, and stated that the permanent closure of St. Vincent
 2   was a result of the failure of SGM to close. The January notice included an Exhibit A, which
 3   listed the names of approximately 365 nurses who would be terminated as a result of the
 4   closure [Id.].
 5           58.      As of January 18, 2020, St. Vincent had no patients [Docket No. 3982].
 6           59.      As of January 27, 2020, only approximately 20 employees remained at Saint
 7   Vincent to complete winddown operations [Id.].

 8                      INTERGRATED ENTERPRISE & JOINT EMPLOYER

 9                              Common Ownership & Financial Control

10           60.      Upon information and belief, all Institutional Defendants are owned and/or

11   controlled by Defendant Verity. As previously stated, Verity is the sole corporate member of

12   St. Vincent, Seton, and St. Francis.

13           61.      Upon information and belief, Richard Adcock serves as the CEO and Peter

14   Chadwick serve as the Secretary and CFO of St. Vincent, Seton and St. Francis. The only

15   difference in Verity’s officers is that Terry Belmont serves as its Secretary instead of Mr.

16   Chadwick.

17           62.      The manager of Holdings is Verity and the manager of DePaul Ventures is

18   Richard Adcock.

19                           Common Management, Directors, and Officers

20           63.      Upon information and belief, the bylaws of Verity and each of the Defendant

21   Hospitals vest ultimate authority over major decisions to the Verity board of directors such as

22   whether to change the mission of a hospital, amend a hospital’s bylaws, appoint and remove its

23
     directors, approve the incurrence of debt and, inter alia, approve the operating budget.

24
             64.      Upon information and belief, business plans are developed by Verity, rather than

25
     individual Defendant Hospitals.

26
             65.      Upon information and belief, per each Defendant Hospitals’ bylaws, at least one

27
     member of Defendant Hospitals’ board of directors must be a member of Verity’s Board of

28
     Directors.




                                              Exhibit 1   13
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          41 of 95  Page IDDesc
                                                                            #:41
                       Main Document     Page 14 of 66



 1          66.     Upon information and belief, outside consultants are retained at the system-level
 2   for all Defendant Hospitals and Verity.
 3          67.     Elspeth D. Paul serves as the General Counsel for all the Institutional
 4   Defendants.
 5                                          De Facto Control
 6          68.     Upon information and belief, Verity makes all major decisions for St. Vincent,
 7   St. Francis, Seton, Holdings, and DePaul Ventures including the decision to place these entities

 8   into bankruptcy.

 9          69.     Upon information and belief, Verity made the determination to shut down St.

10   Vincent.

11          70.     Upon information and belief, Verity sent the WARN notices to Defendant

12   Hospitals’ employees.

13          71.     Upon information and belief, Verity and the Individual Defendants determined

14   when and how to provide or not provide notification to employees regarding the imminent

15   closure of St. Vincent.

16                        Interrelation Between & Dependency of Operations

17          72.     Upon information and belief, Verity and Defendant Hospitals hold themselves

18   out to the public as an integrated and unified health system. Per its own representations to this

19   Court, Verity operates Defendant Hospitals [Docket No. 8, p. 7].

20          73.     Upon information and belief, Verity and Defendant Hospitals share insurance

21   policies for workers’ compensation coverage, general liability, storage tank liability,

22   commercial property, commercial automobile, and helipad liability.

23
            74.     Upon information and belief, Verity and Defendant Hospitals are part of an

24
     obligated group whereby the prepetition loans they received imposed joint and several liability

25
     upon them and allowed all obligated group members use of such loan proceeds.

26
            75.     Upon information and belief, Verity negotiated numerous system-wide

27
     agreements for all the Defendant Hospitals.

28
            76.     Upon information and belief, capital improvements were financed for Defendant




                                               Exhibit 1   14
                                               000041
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          42 of 95  Page IDDesc
                                                                            #:42
                       Main Document     Page 15 of 66



 1   Hospitals based on financings undertaken on a joint and several basis.
 2          77.     Upon information and belief, Verity routinely transferred funds between all
 3   Institutional Defendants.
 4          78.     Upon information and belief, all Institutional Defendants list the same business
 5   address on their filings with the California Secretary of State: 601 S. Figueroa Suite 4050, Los
 6   Angeles, CA 90017 which is the physical location of Verity.
 7          79.     Upon information and belief, all employees of Verity and Defendant Hospitals

 8   have an email address that is not specific to each entity and instead is in the form of

 9   employeesname@verity.com.

10
                                      Centralized Control of Labor Relations
11
            80.     Upon information and belief, Verity’s Chief Human Resources Officer, Mr.
12
     Steven Sharrer, oversees the labor relations at all Defendant Hospitals.
13
            81.     Upon information and belief, negotiations for CBAs at Defendant Hospitals are
14
     performed by Verity management on a system-wide basis.
15
            82.     Upon information and belief, prior to the sale of O’Connor Regional Hospital
16
     (“O’Connor) and Saint Louise Regional Hospitals (“Saint Louise”) to Santa Clara County and
17
     the closure of St. Vincent, Verity recognized a single unit of CNA-represented registered
18
     nurses comprised of those who worked at St. Vincent, O’Connor, St. Louise, and Seton. These
19
     nurses’ terms and conditions were covered by a single master CBA and supplemental local
20
     agreements for each hospital.
21
            83.     Upon information and belief, all of the Institutional Defendants’ employees
22
     participate in common retirement plans, healthcare plans and other employee benefit plans.
23
            84.     Upon information and belief, Verity and Defendant Hospitals maintain common
24
     personnel policies, a shared employee recruitment website, and human resources portal.
25
                     COUNT I: VIOLATION OF THE FEDERAL WARN ACT
26
            85.     Plaintiff restates and realleges paragraphs 1-84 as if fully set forth herein.
27
            86.     The Federal WARN Act, 29 U.S.C. § 2101, et. seq., regulates the amount of
28




                                              Exhibit 1   15
                                              000042
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          43 of 95  Page IDDesc
                                                                            #:43
                       Main Document     Page 16 of 66



 1   notice an employer must provide to employees who will be terminated due to the employer’s
 2   closing of a plant or mass layoffs, as well as the back pay and other associated benefits an
 3   affected employee is due based on a violation of the required notice period.
 4           87.     The Federal WARN Act prohibits an employer from ordering a mass layoff for
 5   at least 60 days after it serves written notice of the pending layoff to affected employees, each
 6   representative of the affected employees, the entity designated by the State to carry out rapid
 7   response activities, and the chief elected official of the unit of local government within which

 8   the layoff is to occur.

 9           88.     The Institutional Defendants were, and are, subject to the notice and back pay

10   requirements of the Federal WARN Act because they are individually and collectively a

11   business enterprise that employs 100 or more employees, excluding part-time employees, as

12   defined in the Act. 29 U.S.C. § 2101(1)(A).

13           89.     At all times material herein, the St. Vincent registered nurses have been entitled

14   to the rights, protections, and benefits provided under the Federal WARN Act, 29 U.S.C.

15   § 2101, et. seq.

16           90.     The Institutional Defendants violated the Federal WARN Act by ordering a

17   mass layoff and closing without providing 60 days’ written notice to CNA, affected employees,

18   or any State of California or City of Los Angeles agency or official of the permanent closure of

19   St. Vincent.

20           91.     The St. Vincent nurse-employees of the Institutional Defendants who were

21   terminated and/or laid off without 60 days’ notice are aggrieved and entitled to the remedies

22   provided by law.

23
             92.     As a result of the Institutional Defendants’ actions, each aggrieved employee has

24
     suffered damages in an amount to be proven at trial.

25
                    COUNT II: VIOLATION OF THE CALIFORNIA WARN ACT

26
             93.     Plaintiff restates and realleges paragraphs 1-84 as if fully set forth herein.

27
             94.     At all times material herein, the St. Vincent registered nurses have been entitled

28
     to the rights, protections, and benefits provided under the California WARN Act, California




                                               Exhibit 1   16
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          44 of 95  Page IDDesc
                                                                            #:44
                       Main Document     Page 17 of 66



 1   Labor Code § 1401, et seq.
 2           95.     The California WARN Act regulates the amount of notice an employer must
 3   provide to employees who will be terminated due to the employer’s closing of a plant or mass
 4   layoffs, as well as the back pay and other associated benefits an affected employee is due based
 5   on a violation of the required notice period.
 6           96.     The Institutional Defendants were, and are, subject to the notice and back pay
 7   requirements of the California WARN Act because they are individually and collectively a

 8   business enterprise that employs 75 or more employees, excluding part-time employees, as

 9   defined in the Act. Cal. Labor Code § 1400, et. seq.

10           97.     The Institutional Defendants violated the California WARN Act by failing to

11   provide the required notice to the affected employees and/or any of the various government

12   agencies to which they were required by law to give notice, in writing, at least 60 days prior to

13   the terminations and/or layoffs of the permanent closure of St. Vincent.

14           98.     The St. Vincent nurse-employees of the Institutional Defendants who were

15   terminated and/or laid off without 60 days’ notice are aggrieved and entitled to the remedies

16   provided by law.

17           99.     As a result of the Institutional Defendants’ actions, each aggrieved employee has

18   suffered damages in an amount to be proven at trial.

19        COUNT III: INTENTIONAL MISREPRESENTATION BY CONCEALMENT

20           100.    Plaintiff restates and realleges paragraphs 1-84 as if fully set forth herein.

21           101.    Beginning in August 2019, Defendants disclosed some facts to CNA and the St.

22   Vincent nurses about the bankruptcy and planned sale of Defendant Hospitals to SGM.

23
     However, for extended periods of time beginning in November 2019, Defendants intentionally

24
     failed to timely disclose that:

25
                     a. New information had arisen and then continued to arise that made it

26
                         increasingly unlikely the sale would close;

27
                     b. Defendants anticipated permanently shutting down St. Vincent entirely and

28
                         expeditiously in the increasingly likely event that the sale did not close;




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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          45 of 95  Page IDDesc
                                                                            #:45
                       Main Document     Page 18 of 66



 1                   c. The sale fell through;
 2                   d. Defendants were planning to permanently shut down St. Vincent entirely
 3                      and expeditiously because the sale fell through.
 4            102.   Prior to Defendants’ late disclosure on December 18, 2019 that SGM did not
 5   close the sale on the date ordered by this Court, CNA and the St. Vincent nurses believed that
 6   the St. Vincent nurses’ employment was likely to continue because the SGM sale was going to
 7   close and SGM was going to continue operating the hospital. Defendants had not disclosed to

 8   the nurses or CNA, and the nurses and CNA did not know that:

 9                   a. New information had been arising for weeks that made it increasingly

10                      unlikely the sale would close;

11                   b. Defendants anticipated permanently shutting down St. Vincent entirely and

12                      expeditiously in the increasingly likely event that the sale did not close;

13                   c. The sale fell through;

14                   d. Defendants were planning to permanently shut down St. Vincent entirely

15                      and expeditiously because the sale fell through.

16            103.   In the December 18, 2019 email in which Defendants notified the St. Vincent

17   nurses that the sale to SGM had not occurred as ordered, Defendants also stated that the nurses’

18   employment would “NOT end.” As a result, prior to Defendants’ public disclosure in January

19   2020, CNA and the CNA-represented nurses believed that the nurses’ employment at St.

20   Vincent was likely to continue even though the sale to SGM appeared to have fallen through.

21   They did not know that Defendants were planning to permanently shut down St. Vincent

22   entirely, and they certainly did not expect hospital departments to shut down in less than a

23
     month.

24
              104.   Defendants’ deliberately concealed these material facts to lead nurses and CNA

25
     to the false conclusion that the nurses’ employment was very likely to continue despite the

26
     bankruptcy. Defendants misled the nurses and CNA in this way to avoid incurring additional

27
     expenses to secure the necessary nursing staff to keep St. Vincent running until they were ready

28
     to close it and to avoid the possibility of effective organized opposition to the planned closure.




                                              Exhibit 1   18
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          46 of 95  Page IDDesc
                                                                            #:46
                       Main Document     Page 19 of 66



 1           105.   St. Vincent nurses who would have looked for other work if they had known
 2   that the hospital was likely to shut down did not do so because they were intentionally kept
 3   ignorant of these facts. As a result, those nurses only began to look for work when the news of
 4   shut down reached the general public after Verity finally disclosed its shutdown plans in a
 5   filing with this Court on January 6, 2020. This was less than two weeks before the nurses lost
 6   their jobs.
 7           106.   Because of Defendants’ deliberate concealment of these material facts, nurses

 8   experienced periods of unemployment, financial hardship, and emotional hardship that they

 9   would not otherwise have experienced.

10           107.   CNA would have engaged in different bargaining and organizing strategies if it

11   had known that the hospital was likely to permanently shut down but did not do so because

12   Defendants intentionally kept CNA ignorant of these facts.

13           108.   Because of Defendants’ deliberate concealment of these material facts, CNA

14   incurred expenses and wasted time engaging in bargaining based on false pretenses.

15                      COUNT IV: NEGLIGENT MISREPRESENTATION

16           109.   Plaintiff restates and realleges paragraphs 1-84 as if fully set forth herein.

17           110.   Beginning in August 2019, Defendants disclosed some facts to CNA and the

18   CNA-represented nurses at St. Vincent about the bankruptcy and planned sale of Defendant

19   Hospitals to SGM. However, for extended periods of time beginning in November 2019,

20   Defendants failed to timely disclose the facts that:

21                  a. New information had arisen and then continued to arise that made it

22                      increasingly unlikely the sale would close;

23
                    b. Defendants anticipated permanently shutting down St. Vincent entirely and

24
                        expeditiously in the increasingly likely event that the sale did not close;

25
                    c. The sale fell through;

26
                    d. Defendants were planning to shut down St. Vincent entirely and

27
                        expeditiously because the sale fell through.

28
             111.   Prior to Defendants’ late disclosure on December 18, 2019 that the SGM sale




                                              Exhibit 1   19
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          47 of 95  Page IDDesc
                                                                            #:47
                       Main Document     Page 20 of 66



 1   did not close on the date ordered by this Court, CNA and the St. Vincent nurses believed that
 2   the nurses’ employment was likely to continue because the SGM sale was going to close and
 3   SGM was going to continue operating the hospital. Defendants had not disclosed to the nurses
 4   or CNA, and the nurses and CNA did not know that:
 5                  a. New information had been arising for weeks that made it increasingly
 6                        unlikely the sale would close;
 7                  b. Defendants anticipated shutting down St. Vincent entirely and expeditiously

 8                        in the increasingly likely event that the sale did not close;

 9                  c. The sale fell through;

10                  d. Defendants were planning to shut down St. Vincent entirely and

11                        expeditiously because the sale fell through.

12          112.    In the December 18, 2019 email in which Defendants notified the CNA-

13   represented nurses that the sale to SGM had not occurred as ordered, Defendants also stated

14   that the nurses’ employment would “NOT end.” As a result, prior to Defendants’ public

15   disclosure in January 2020, CNA and the CNA-represented nurses believed that the nurses’

16   employment at St. Vincent was likely to continue even though the sale to SGM had not

17   occurred as ordered. They did not know that Defendants were planning to permanently shut

18   down St. Vincent entirely and expeditiously because the sale fell through.

19          113.    Defendants previous representations about the likely future of St. Vincent

20   became misrepresentations when Defendants failed to advise CNA and the CNA-represented

21   nurses of these changes in circumstances. And Defendants had no reasonable grounds for

22   believing their prior representations remained true after they learned that sale to SGM was

23
     increasingly unlikely and decided that they would permanently shut down St. Vincent if the

24
     sale fell through.

25
            114.    St. Vincent nurses who would have looked for other work if they had known

26
     that the hospital was likely to shut down did not do so because they reasonably relied on

27
     Defendants’ representations that the hospital would keep operating. As a result, those nurses

28
     only began to look for work when the news of shut down reached the general public after




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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          48 of 95  Page IDDesc
                                                                            #:48
                       Main Document     Page 21 of 66



 1   Verity finally disclosed its plans in its filing with this Court on January 6, 2020. This was less
 2   than two weeks before the nurses lost their jobs.
 3          115.    Because of Defendants’ misrepresentation of material facts, nurses experienced
 4   periods of unemployment, financial hardship, and emotional hardship that they would not
 5   otherwise have experienced.
 6          116.    CNA would have engaged in different bargaining and organizing strategies if it
 7   had known that the hospital was likely to shut down but did not do so because it reasonably

 8   relied on Defendants’ misrepresentations.

 9          117.    Because of Defendants’ misrepresentations of material facts, CNA incurred

10   expenses and wasted time engaging in bargaining based on false pretenses.

11                                                PRAYER

12          Plaintiff prays for judgment against Defendants, and each of them as follows:

13          118.    A judgment in favor of the Plaintiff and each of the “affected employees” under

14   the State and Federal WARN Acts equal to the sum of sixty-days of: their unpaid wages,

15   accrued holiday pay, accrued vacation pay, health and life insurance, and other ERISA benefits

16   that would have been covered and paid under the then-applicable employee benefit plans had

17   that coverage continued for that period, all determined in accordance with the California and

18   Federal WARN Acts;

19          119.    Civil penalties for each day of the WARN Act violations;

20          120.    Compensatory damages, including lost wages and lost employee benefits,

21   damages to CNA related to bargaining expenses and missed organizing opportunities;

22          121.    Damages for mental pain and anguish and emotional distress;

23
            122.    Punitive damages;

24
            123.    Liquidated damages, as allowed by law;

25
            124.    Interest as allowed by law on the amounts owed under the preceding paragraphs;

26
            125.    Treatment of all damage claims as first priority administrative expense pursuant

27
     to 11 U.S.C. § 503(b)(l)(A)(i)-(ii). For such other and further relief as Bankruptcy Court deems

28
     just and proper.




                                              Exhibit 1   21
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          49 of 95  Page IDDesc
                                                                            #:49
                       Main Document     Page 22 of 66



 1          126.    Plaintiffs reasonable attorneys' fees and the costs and disbursements that the
 2   Plaintiff incurred in prosecuting this action, as authorized by the WARN Acts;
 3          127.    An allowed administrative-expense priority claim under 11 U.S.C. § 503 for the
 4   reasonable attorneys' fees and the costs and disbursements that the Plaintiff incurs in
 5   prosecuting this action, as authorized by the WARN Act, 29 U.S.C. § 2104(a)(6); and
 6          128.    Such other and further relief as this Court may deem just and proper.

 7
     Dated: March 5, 2020                           Respectfully submitted,
 8
                                                    CALIFORNIA NURSES ASSOCIATION
 9                                                  LEGAL DEPARTMENT


                                               By~.~J
10

11
                                                    Kyrst n B. Skogstad
12                                                  Attorneys for Plaintiff
                                                    CALIFORNIA NURSES ASSOCIATION
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          50 of 95  Page IDDesc
                                                                            #:50
                       Main Document     Page 23 of 66


                                           Demand for JUry Trial
 1

 2
             Plaintiff California Nurses Association, by and through their attorneys of record, hereby
 3
     demand a trial by jury as to all issues so triable in this action.
 4
     Dated: March 5, 2020                             Respectfully submitted,
 5
                                                      CALIFORNIA NURSES ASSOCIATION
 6
                                                      LEGAL DEPARTMENT


                                                 BY ~' ~
 7

 8
                                                      Kyrste B. Skogstad
 9                                                    Attorneys for Plaintiff
                                                      CALIFORNIA NURSES ASSOCIATION
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          51 of 95  Page IDDesc
                                                                            #:51
                       Main Document     Page 24 of 66




                 Exhibit 1




                 Exhibit 1
                                     Exhibit 1
                                     000051
      Case 2:20-cv-02623-SVW
      Case 2:20-ap-01051-ER Doc  1 Filed
                              Document 1 03/05/20   Entered
                                          Filed 03/19/20     03/05/20
                                                          Page         14:43:43
                                                                52 of 95  Page IDDesc
                                                                                  #:52
                             Main Document     Page 25 of 66



\ .Verity Health



August 12, 2019

By U.S. Mail

Andy Prediletto
C.N.A.
225 West Broadway
Suite 500
Glendale, CA 91204
818-637-7129 (office) 1213-810-8222 (mobile)
aprediletto@calnurses.org

Re:      Notice Pursuant to Worker Adjustment and Retraining Notification Act
         and the California WARN Act

Dear Mr. Andy Prediletto:
This notice is being issued to you under the Worker Adjustment and Retraining Notification Act, 29 U.S. C.
§§2101 et seq. (the "WARN Act") and the California WARN Act, California Labor Code §§1400-1408
("Cal-WARN Act"). The purpose of this notice is to inform you of the sale ofSt. Vincent Medical Center,
located at 2131 West Third Street, Los Angeles, CA 90057 and St. Vincent Dialysis Center, located at
201 S. Alvarado St., Los Angeles, CA 90057 (together, "St. Vincent").
On August 31, 2018, Verity Health System of California, Inc. ("VHS") and sixteen of its affiliates,
including St. Francis (referred to collectively with VHS and other debtor affiliates as the "Debtors") filed
for Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the Central District of
California (the "Bankruptcy Court"), and are being jointly administered under Lead Case No. 2: 18-bk-
20151. The Debtors have entered into an agreement to sell substantially all of the assets of St. Francis to
Strategic Global Management, Inc. (the "Purchaser"), pursuimt to which the Purchaser will purchase St.
Vincent aud related assets (the "Sale"). On April 17, 2019, the Bankruptcy Court entered an order
approving the Sale.
In connection with the Sale, the Debtors will be separating the employment of all of St. Vincent's
employees, which may result in an "employment loss" within the meaning ofthe WARN Act and the Cal-
WARN Act. Under the Asset Purchase Agreement between the Debtors and the Purchaser, the Purchaser
has agreed to make offers of employment to substantially all of st. Vincent's employees, subject to the
other terms and conditions contained in such Asset Purchase Agreement.
The closing of the Sale is subject to certain regulatory and other approvals and the satisfaction of certain
other conditions agreed to between the Debtors and the Purchaser. While the Debtors are optimistic that
the Sale will close, there is a possibility that the Sale will be unsuccessful. In that event, St. Vincent may
close and none of its employees may be hired by the Purchaser. Even if the Sale closes and st. Vincent
remains open, employees at St. Vincent may suffer an "employment loss" within the meaning of the
WARN Act and Cal-WARN Act because the Debtors will separate the employment of all of St. Vincent's


                                                  Exhibit 1
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   Case 2:20-cv-02623-SVW
   Case 2:20-ap-01051-ER Doc  1 Filed
                           Document 1 03/05/20   Entered
                                       Filed 03/19/20     03/05/20
                                                       Page         14:43:43
                                                             53 of 95  Page IDDesc
                                                                               #:53
                          Main Document     Page 26 of 66



\ 'Verity Health



employees upon the closing of the Sale. For those employees, if any, who are not hired by the Purchaser,
the employment loss is expected to be permanent.
Based on the best information available to date, we believe the Sale and separations of employment will
occur between October 18,2019 and October 31, 2019. A list of the job titles of positions affected and
the names of the workers currently holding the affected jobs is attached hereto as Exhibit A. Pursuant to
the WARN Act and Cal-WARN Act, this notice is being provided to you as soon as possible prior to any
separations of employment.
Should circmnstances change any of our plans with respect to the Sale, VHS will provide you with updated
information. If you have any questions or require additional information, please do not hesitate to contact
me at (424) 367-0733.


Sincerely,




    en   IT
Chief Human Resources Officer


Enclosure: Exhibit A




                                                 Exhibit 1
                                                 000053                                        verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              54 of 95  Page IDDesc
                                                                                #:54
                           Main Document     Page 27 of 66



\ 'Verity Health
        2040 E Mariposa Avenue
        El Segundo, CA 90245



                                                                  EXHIBIT A
                    List of Represented St. Vincent Employees - California Nurses Association


              Employee Name                                                   Job Title
              ABAD,JENNIFER K                                                 RN, POB DIALYSIS PD-3
              ABAD,ROMEO G                                                    RN, MED/SURG 7
              ABRISHAMIAN,MANDANA                                             RN, MED/SURG 6
              ACOYMO,KERWIN M                                                 RN, EMERGENCY ROOM PD-3
              ADARO,VIDA T                                                    RN, MED/SURG 6
              ADLA WAN-DOBLE,MARIA ROSELIE I                                  RN, AUDITOR - EMER. ROOM 10/40
              ADRAYAN,GILBERT C                                               RN, EMERGENCY ROOM PD-3
              ADRINEDA,LORINNE M                                              RN,ICU
              AGUILAR,mSTIN E                                                 RN, EMERGENCY ROOM PD-l
              AGUSTIN,RACHELLE ANN C                                          RN,ICU
              ALDANA,MARCO P                                                   RN,ICU
              ALDRETE,MANUEL M                                                 CHARGE NURSE, SHORT STAY
              ALIBUTOD,RODERICK H                                              RN, MED/SURG 6
              ALQUIROZ,JHOANNA M                                               RN, TELEMETRY
              ALWAN,ALEXZANDRIA                                                RN, CASE MANAGEMENT PD-3
              AMADOR,PAMELA M                                                  RN,ICU
              AMPONG,GRANVILLE H                                               RN, ACUTE REHAB
              APELIZAN,PAULA LORENA H                                          RN, ACUTE REHAB
              APOLINAR,JOCELYN L                                               CHARGE NURSE, ICU
              AQUINO,HILDA L                                                   EDUCATOR, LEAD CLINICAL RN
               ARGUETA-CORDERO,FRANCISCO J                                     RN, SHORT STAY
               ARREGLO,VICTORIA A                                              RN, TELEMETRY
               ARSUA,AILEEN E                                                  RN, MED/SURG 7
               ASSADI,AMIR H                                                   RN, INTERVENTIONAL RADIOLOGY
               ASTAKHlNA,LYUDMYLA                                              RN, EMERGENCY ROOM
               ATIENZA,JORDAN                                                  RN, EMERGENCY ROOM
               BAE,STELLA N                                                    RN, MED/SURG 7 KP
               BAE,YEAHEUN                                                     RN, ACUTE REHAB
               BAL,JENNIFER JOY L                                              RN, TELEMETRY
               BALCRUZ,THER.ESA I                                                 R.N, MED/SURG 6

Exhibit A ~ List of Represented st. Vincent Employees - California Nurses Association



                                                                      Exhibit 1
                                                                      000054                                   verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              55 of 95  Page IDDesc
                                                                                #:55
                           Main Document     Page 28 of 66



\ 'Verity Health



             Employee Name                                                  Job Title
             BALINGIT,CORAZON I                                             CHARGE NURSE, SURG & RECOVERY
             BALINGIT,NORMITA V                                             RN, MED/SURG 6
             BALLADA,GLENDA S                                               RN,ICU
             BALUYOT,VANESSA FAYE P                                         RN, CASE MANAGEMENT
             BATAC,AIMEE A                                                  RN, TELEMETRY
             BATlSTA,CRYSTAL L                                              RN,ICU
             BAUTlSTA,DINO LOREN M                                          RN, EMERGENCY ROOM
              BAUTISTA PALANOG,MARICEL                                      RN, CATH LAB PD-\
              BAYLON,RONEL D                                                RN, MED/SURG 6
              BAZAN, GERARDO                                                CHARGE NURSE, INTER. RADIOLOGY
              BELL,JESSICA M                                                RN,ICU
              BELL,KENNETHA                                                 RN, RECOVERY ROOM
              BELLOSO,FRANCINE E                                            RN, TELEMETRYPD-\
              BERANGO,NICOMEDES                                              RN, MED/SURG 6
              BERNARDO,KATHLEEN A                                            RN,ICU
              BIGASfN,JHOANNA                                                RN, MED/SURG 7
              BIRIOmWV,LEONID                                                RN, ACUTE DIALYSIS PD-2
              BOESSI,CHRISTOPHINE K                                          RN,ICU
              BOONE,LASHANDA                                                 RN, MED/SURG 6
              BOTE,II1,ROMERO P                                              RN, ACUTE REHAB
              BRACAMONTE,JESSICA K                                           RN,ONCOLOGY
              BUENO,REGINALD C                                               RN, MED/SURG 7
              BURCH,KATALEE                                                  RN, MED/SURG 6
              BURRELL,LISA D                                                 RN, TELEMETRY
              CABALLERO,JEFFREY E                                            RN, EMERGENCY ROOM
              CABANAS,JEANETTE A                                             RN, MED/SURG 6
              CABAUATAN DUMAG,MICHELLE                                       CHARGE NURSE, MED/SURG 6
              CAISIP,THADEUS B                                               RN, ACUTE DIALYSIS
              CALIBOSO,MITCH DATOR                                           RN, EMERGENCY ROOM PD-2
              CALZADO,JANET 0                                                RN, TELEMETRY
              CAMPOS, YASMINI V                                              RN, ONCOLOGY
              CANLAS,MICHAEL                                                 RN, EMERGENCY ROOM PD-3
               CAO,JENNIFER T                                                RN, MED/SURG 6



Exhibit A ~ List of Represented st. Vincent Employees California Nurses Association
                                                     w                                                          2



                                                                    Exhibit 1
                                                                    000055                                   verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              56 of 95  Page IDDesc
                                                                                #:56
                           Main Document     Page 29 of 66



\ 'Verity Health



              Employee Name                                                   Job Title
              CARO,ALYSSA L                                                   RN,ICU
              CARREIRO,ANNIE E                                                RN, TELEMETRY
              CARRILLO,MARICELA                                                CHARGE NURSE, MED/SURG 7
              CASCONE,FRANCHESCA M                                            RN,ICU
              CASTELLTORT,MARIE C                                              RN, ACUTE REHAB
              CEBALLOS,VILMAR M                                                RN, ONCOLOGY
              CEMANESEVANGELISTA,CLARISSE M                                    RN, MED/SURG 6
              CENTENO,MARIA LIBERTY C                                          RN,ICU
              CERAOS,JERIC                                                     RN, NURSING ADMIN
              CERVANTES,REDENTOR T                                             CHARGE NURSE, EMERGENCY ROOM
              CHAE,JEONG R                                                     RN, EMERGENCY ROOM
              CHAN,ELAINE M                                                    RN, EMERGENCY ROOM PD-I
              CHAN,LINHN                                                       RN, TELEMETRY
              CHANG,AH YEON                                                    RN, CASE MANAGEMENT
              CHANG,MARY W                                                     RN, SURG & RECOVERY
               CHANG,SUNY                                                      RN, TELEMETRY
               CHAVEZ,SILVIA M                                                 RN,ICU
               CHEA,DAVY                                                       RN,ICU
               CHO,ANDYS                                                       RN, EMERGENCY ROOM
               CI-IO,JUNG H                                                    RN, TELEMETRY
               CHO,MEONGHEE                                                    RN, RECOVERY ROOM
               CI-IOI,ALICIA A                                                 RN, MED/SURG 7
               CHOI,BO YEON H                                                  RN, CASE MANAGEMENT PD-l
               CHOI,EUNAH                                                      RN, TELEMETRY
               CHOI,INH                                                        RN, MED/SURG 6
               CHOI,MIRAN                                                      RN, POB DIALYSIS
               CHOI,PILL                                                       RN, SHORT STAY
               CHOI,SOONKI                                                     RN, TELEMETRY
               CHOTAROONVIPHAT,LADDA                                           RN, EMERGENCY ROOM
               CHUA,HONEE L                                                    EDUCATOR, CLINICAL RN IOHR
               CHUA,MA SHEILA G                                                RN, MED/SURG 7
               CHUNG,HA NIE C                                                  RN, MED/SURG 6
               CLARK,ELIZABETH A                                               RN,ICU



Exhibit A - List of Represented St. Vincent Employees - California Nurses Association                            3



                                                                      Exhibit 1
                                                                      000056
                                                                                                              verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              57 of 95  Page IDDesc
                                                                                #:57
                           Main Document     Page 30 of 66



\ 'Verity Health



              Employee Name                                                   Job Title
              CONCEPCION,RODEN B                                              RN,ICU
              CORONA,DAISY                                                    RN, MED/SURG 7
              CORTADA,DANA 0                                                  RN, CASE MANAGEMENT
              CORTES-MORA,YESENIA                                             RN, MED/SURG 6
              CRISOSTOMO,TABETHA P                                            RN, POB DIALYSIS
              CROWLEY,VALERIE J                                               RN, RECOVERY ROOM
              CROWLEY,VERONICA M                                              RN,CATHLAB
              CRUDUP,IMANI M                                                  RN, SURG & RECOVERY
              CRUZ,LIEZL Q                                                    RN, CASE MANAGEMENT PD-l
              CRUZ,SYLVIA P                                                   RN,ICU
              CUARESMA,DENICE K                                               RN, ONCOLOGY
              CUBE,REALLINE M                                                 RN, MED/SURG 7
              CUELLAR,MATTHEW S                                               RN, TELEMETRY
              CUPP,CHRISTINE J                                                 RN, RECOVERY ROOM IOHR
              DADASHY AN,INNA                                                  RN, TELEMETRY PD-l
              DADHANIA,AKRUTI J                                                RN, ACUTE REHAB
              DANG,PAULINE L                                                   RN, ACUTE DIALYSIS
              DANIEL,JOANNA                                                    RN, EMERGENCY ROOM
              DAO,CONNIE P                                                     RN,ICU
              DATOR,COSSETTE P                                                 RN, ONCOLOGY
              DAVIDSON,ALTHIA J                                                RN, EMERGENCY ROOM
               DE LEON,BRENNA A                                                RN, TELEMETRY
               DE QUIROS,IVY LEE V                                             RN, POB DIALYSIS PD-l
               DEEGAN,GERARD J                                                 RN, SURG & RECOVERY
               DEL FIERRO,JOSEPH ARNEL M                                       RN, ACUTE DIALYSIS
               DERECI,MARY ANN                                                 RN,SHORTSTAY
               DINSAY,ANNABELLE D                                              RN, MED/SURG 7
               DlONISIO,BERNARD S                                              RN, EMERGENCY ROOM PD-l
               DORAN,CHARLES C                                                 RN, ACUTE DIALYSIS
               DORIA,MIRIAM S                                                  RN, MED/SURG 6 PD-l
               DUMANSKY,ELENA                                                  RN GI LAB-8/80
               DUMLAO,TERESITA A                                               RN, SURG & RECOVERY
               DUTTON,NOELLE M                                                 RN, CATH LAB (STEMI)



Exhibit A - List of Represented St. Vincent Employees - California Nurses Association                       4



                                                                      Exhibit 1
                                                                      000057                             verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              58 of 95  Page IDDesc
                                                                                #:58
                           Main Document     Page 31 of 66



\ 'Verity Health



              Employee Name                                                   Job Title
              EHSAN,RAHAL                                                     RN, MED/SURG 7
              ENRIQUEZ, VERE JONAS S                                          RN CASE MANAGEMENT
              EOM,HOKYOUNG                                                    RN, SURG & RECOVERY
              ESTELL,CORNELIA S                                               CHARGE NURSE, GI LAB
              ESTRADA,MARTIN A                                                RN, ONCOLOGY
              EUSEBIO,CECILIA                                                 RN, POB DIALYSIS
              EVANGELISTA,ALLAN F                                              CHARGE NURSE, ONCOLOGY
              F ABROS,NASH A                                                  RN, MED/SURG 7
              FAMILARA,MYRA B                                                  RN, SURG & RECOVERY PD-3
              FERNANDEZ,NOLIE V                                                RN, TELEMETRY
              FERNANDEZ,RODIERAECA C                                           RN,ICU
              FERRER,RONALD M                                                  RN,ICU
              FINLEY,KASUMI                                                    RN, TELEMETRY
              FITKOWSKI,ANDREW E                                               RN, MED/SURG 6
               FONSECA,ANDRES                                                  RN, TELEMETRY
               GAMUROT,ANNE CAROLINE E                                         RN, TBLEMETRY
               GANZ,JEFFREY A                                                  RN, TELEMETRY
               GARCIA,DOROTHY E                                                RN, MED/SURG 6
               GARCIA,MARIA ROSARIO C                                          RN,ICU
               GARCIA,RHODORA D                                                RN, SHORT STAY
               GARCIA,SHERWIN R                                                CHARGE NURSE, MED/SURG 7
               GEMZON,JOPHE A                                                  CHARGE NURSE, ICU
               GERMINAL,GLADYS F                                               RN,CATHLAB
               GHIRMAY,MICKY                                                   RN, EMERGENCY ROOM
               G1LL,JAGVEER S                                                  RN, ONCOLOGY
               GO,EDWINL                                                       RN, MED/SURG 7
               GOLORAN,PATRICIA M                                              RN, NURSING ADMIN
               GOMEZ,AARON I                                                   RN,ICU
               GONZALES,KRISTINE M                                             RN, MED/SURG 7
               GONZALES, YVETTE                                                CHARGE NURSE, MED/SURG 6
               GROEHLER,MIRA                                                   RN, ACUTE DIALYSIS
               GUMAY AGAY,VINA N                                               RN, ACUTE REHAB
               GUTIERREZ,LUZ M                                                 RN, TELEMETRY



Exhibit A - List of Represented St. Vincent Employees - California Nurses Associalion                        5



                                                                      Exhibit 1
                                                                      000058                              verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              59 of 95  Page IDDesc
                                                                                #:59
                           Main Document     Page 32 of 66



\ 'Verity Health



              Employee Name                                                    Job Title
              GUZMAN,JAMES BRIAN S                                             RN, MED/SURG 6
              HA,DA YEONG                                                      RN, MED/SURG 7 KP
              HAKOPlAN,MELINA D                                                RN, lCU PD-3
              HAMlLTON,KADE                                                    RN, NURSING ADMIN
              HAN,BONAl                                                        RN, MED/SURG 6
              HEARN,TAYLOR                                                     RN, TELEMETRY
              HEO,GJlYOUNG                                                     RN, SURG & RECOVERY
              HERTZ, ALEXANDRA L                                               RN, TELEMETRY
              HlPUS,JOSEFlNA C                                                 RN,CATHLAB
              HO,THERESE T                                                     RN,ICU
              IBARRA,JACOB                                                     RN, EMERGENCY ROOM PD-3
              lMAYSAY,GENEVIEVE                                                RN, SHORT STAY
              INNOCENT,COURTNEY N                                              RN, TELEMETRY
              lNTAL,MARIVIC GRACE D                                            RN, MED/SURG 7
              ITANI,KAZUMI                                                     RN, MED/SURG 6
               lZUCHUKWU-MUONAGOR,RITA U                                       RN, TELEMETRY
               JANG,EUNHAE                                                     RN,ICU
               JANG,JI-YOUNG                                                   RN, ACUTE REHAB
               JANG,JONGSOOK                                                   RN, MED/SURG 7 KP
               JA VIER,CAROL D                                                 RN, TELEMETRY
               JIMENEZ,EVANGELINE B                                            RN, SHORT STAY 12HR
               JUAREZ,MARIANA                                                   RN,ICU
               JUNG,JU YOUNG                                                    RN,ICUPD-I
               KANG,MISEON                                                      RN, TELEMETRY
               KANG,SANDY                                                       RN,ICU
               KANG,SOHEE                                                       RN, SURG & RECOVERY 2
               KA TIGBAK,AGNES M                                                RN, MED/SURG 6
               KILALA,MARY JANE C                                               RN, SHORT STAY
               KIM,AIMEEK                                                       RN,ICU
               KIM,BOOYOUNG                                                     RN, MED/SURG 7
               KIM,GEUMCHUL                                                     RN, ACUTE DIALYSIS
               KIM,HEEJUNG                                                      RN, TELEMETRY
               KIM,HYANGHEE                                                     RN, SHORT STAY



Exhibit A - List of Rep resented 8t. Vincent Employees - California Nurses Association                      6



                                                                       Exhibit 1
                                                                       000059                            verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              60 of 95  Page IDDesc
                                                                                #:60
                           Main Document     Page 33 of 66



\ 'Verity Health



              Employee Name                                                   Job Title
              KIM,HYEON soo                                                   RN, MED/SURG 6
              KIM,JUNGMIN                                                     RN, ACUTE REHAB
              KIM,JUNGWOO                                                     RN, TELEMETRY
              KIM,KARENY                                                      RN,ICU
              KIM,KUNTHY K                                                    CHARGE NURSE, TELEMETRY
              KIM,MEEYUN                                                      RN, MED/SURG 7 KP
              KIM,SINSIL                                                      RN,CATHLAB
              KO,HYANGMI                                                      RN, MED/SURG 7 KP
              KUSAKARI, TOYOMI                                                RN, MED/SURG 6
              LAGUMBAY,SUZETTE 0                                              RN, TELEMETRY
              LARGAESPADA,FRANCES                                             RN GI LAB-S/SO
              LAY,XUANANH T                                                   RN,ICU
              LEE,BOK                                                         RN, MED/SURG 6
              LEE,EUNJIN J                                                    RN,CATHLAB
              LEE,GINAJ                                                       RN, TELEMETRY
              LEE,HYAE JIN                                                    RN, SHORT STAY
              LEE,JOMARC                                                       RN, MED/SURG 6
              LEE,NAMS                                                         RN, MED/SURG 6
              LEE,ROBINM                                                       RN, MED/SURG 6
              LEE, SARAH SO-YOUNG Y                                            RN, MED/SURG 6
              LEE,YEONHEE                                                      RN, MED/SURG 7 KP
              LEE,YUN J                                                        RN, POB DIALYSIS PD-2
              LEGASPI,ROMMEL E                                                 RN, MED/SURG 7
               LEMUS, LITA A                                                   RN, CASE MANAGEMENT
               LENON,AUDREY Q                                                  RN, CASE MANAGEMENT
               LEON,CINZIA                                                     RN, MED/SURG 6
               LEYRAN,NOEL V                                                   RN, ACUTE DIALYSIS
               LICAYAN,SORIANO B                                               RN, ACUTE DIALYSIS
               LICUP,RONALD A                                                  CHARGE NURSE, TELEMETRY
               LIM,HYOK                                                        RN,SHORTSTAY
               LIM,REBECCA A                                                   RN, POB DIALYSIS
               LIM,ROWENA A                                                    RN, MED/SURG 6
               LIM,SEOKSOON                                                    RN, POB DIALYSIS



Exhibit A ~ List of Represented St. Vincent Employees - California Nurses Association                       7



                                                                      Exhibit 1
                                                                      000060
                                                                                                         verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              61 of 95  Page IDDesc
                                                                                #:61
                           Main Document     Page 34 of 66



\ 'Verity Health



              Employee Name                                                   Job Title
              LIM,SEUNGAE                                                     RN, MED/SURG 7 KP
              LIM,TERESA                                                      RN, EMERGENCY ROOM
              LITTLE,MARIA F                                                  RN, SHORT STAY 12HR
              LO,CELINA Y                                                     RN, MED/SURG 6
              LOPES, STEVEN N                                                 RN, TELEMETRY
              LOPEZ,ANGELA T                                                  RN, TELEMETRY
              LOPEZ,MA VICTORIA T                                             RN, MED/SURG 6
              LORENZO,JASMINE R                                               RN, TELEMETRY
              LORICA,RHODA R                                                  RN, MED/SURG 7
              LOZANO, CARMEN C                                                RN,ICU
              LUISTRO,ROMEO C                                                 RN, CASE MANAGEMENT
              LUZURIAGA,RYAN S                                                RN, MED/SURG 6
              LYON,LORNA C                                                    RN, SURG & RECOVERY
              MACAPAGAL,YOLANDA L                                              RN, ONCOLOGY
              MACASERO,BEN REAGAN T                                            RN,ICU
              MADLANGBAYAN,HA YCELYN 0                                         RN, MED/SURG 7
              MALIT,CHERYL JOY L                                               RN, MED/SURG 7 KP
              MANALO,ALEXIS P                                                  RN, EMERGENCY ROOM PD-2
              MANALO,ARLENE B                                                  RN,ICU
              MANALO,EVELYN M                                                  RN, ONCOLOGY
              MANALO,MARIA CECILIA                                             RN, MED/SURG 6
              MANAYTAY,NELLAFLOR G                                             RN,ICU
              MARQUEZ,JESSICA P                                                RN,ICU
               MARTINEZ,KAREN KAYE R                                           RN, MED/SURG 7 KP
               MAYFIELD,CHRIS E                                                RN, INTERVENTIONAL RADIOLOGY
               MCFARLAND,ALLEN GRACE C                                         RN, CASE MANAGEMENT
               MENDOZA,JOCELYN S                                               RN,ICU
               MENDOZA,KEIR                                                    RN, EMERGENCY ROOM
               MENDOZA,MARILOU M                                               RN, SURG & RECOVERY
               MESA,ROCIO                                                      RN, EMERGENCY ROOM
               MILIAN,RAMIRO A                                                 RN, MED/SURG 6
               MINGUEZ,MARY MAE T                                              RN, MED/SURG 7 PD-l
               MISOLA,GABRIELLE P                                              RN, ONCOLOGY



Exhibit A - List of Represented st. Vincent Employees - California Nurses Association                            8



                                                                      Exhibit 1
                                                                      000061                                  verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              62 of 95  Page IDDesc
                                                                                #:62
                           Main Document     Page 35 of 66



\ 'Verity Health



              Employee Name                                                   Job Title
              MOJARRO,YARETH M                                                RN, CASE MANAGEMENT PD-2
              MOORE,PORTIA                                                    RN, EMERGENCY ROOM
              MORRIS,JENNIFER S                                               RN, TELEMETRY
              MUNOZ,TAMARA M                                                  RN, TELEMETRY
              MUZYCHUK,NELLI A                                                RN, SURG & RECOVERY 2
              MYUNG,JESSICA J                                                 RN, ACUTE REHAB
              NAJARRO,NANCY T                                                 CHARGE NURSE, EMERGENCY ROOM
              NAM,JISUN                                                       RN, TELEMETRY
              NATIVIDAD,PAUL J                                                RN,ICU
              NGUYEN, DON M                                                   RN, TELEMETRY
              NGUYEN,KELLYTHUY-KHANH S                                        RN, ACUTE REHAB
              NICOLAS,ELI JOHN L                                              RN, EMERGENCY ROOM PD-2
              NICOLAS,EMILY A                                                 RN, TELEMETRY
              NILO,VIDAL P                                                    RN, RECOVERY ROO¥
              NOBLEFRANCA,CHITA 0                                             KN, ACUTE KEHAB
              NOTARIO,ZACHARY                                                 RN, TELEMETRY PD-I
              NYE,HA YLEY S                                                   RN, TELEMETRY
              OANDASAN,JAYCEL J                                               RN, CASE MANAGEMENT
              OBILLE,MARK A                                                    RN, MED/SURG 7
              OCAMPO, GEORGE R                                                 RN, MED/SURG 7
              ODIA,IRENE                                                       RN,ICU
              OH,KYUNG SOON                                                    RN, POB DIALYSIS
               OH,YESUL                                                        RN, ACUTE DIALYSIS PD-3
               OLYNYK,CELESTE A                                                RN, EMERGENCY ROOM
               ONYEJIJl,IJEOMA                                                 RN, EMERGENCY ROOM
               ORAIS,GRECITA PRIMA D                                           RN, RECOVERY ROOM
               ORANTE,Cl-IRISTIAN P                                            RN, MED/SURG 6
               ORELLANA, GABRIELLA                                             RN, EMERGENCY ROOM
               ORIENZA,MINA RIA S                                              RN,ICU
               ORIS,JACQUELINE A                                               RN, MED/SURG 6
               OSE, TATIANA R                                                  RN, MED/SURG 6
               OUATTARA,NAGNINLTAHA N                                          RN, TELEMETRY
               PAINAGA,MARY DIVINE GRACE D                                     RN, EMERGENCY ROOM



Exhibit A - List of Represented St. Vincent Employees - California Nurses Association                           9



                                                                      Exhibit 1
                                                                      000062                                 verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              63 of 95  Page IDDesc
                                                                                #:63
                           Main Document     Page 36 of 66



\ 'Verity Health



             Employee Name                                                    Job Title
              PALANCA,RYANP                                                   RN, MED/SURG 6
              PARK,CHUNG AH                                                   RN, TELEMETRY
              PARK,ELLEN Y                                                    RN, ACUTE REHAB
              PARK,JINSUN                                                     RN, SHORT STAY
              PARK,KI                                                         RN, ACUTE DIALYSIS
              PARK,SUEA                                                       RN, TELEMETRY
              PARUNGAO,ARLENE P                                               RN, TELEMETRY
              PASCUA,JULIA B                                                  RN, ACUTE REHAB
              PENSERGA,MA BRENDA                                              RN, EMERGENCY ROOM
              PERALTA,VIOLETA A                                               RN, ACUTE REHAB
              PEREIRA,JOSUE                                                   RN, ICU PD-I
              PESA,EVELYN T                                                   RN, TELEMETRY
              PETERSON,MA ARSENIA S                                           RN,ICU
              PLAZO,JONATHAN C                                                RN, ONCOLOGY
              PONCE,BELKI G                                                   RN,ICU
              POSADAS,NIDA J                                                  RN, MED/SURG 6
              POSUELOZ,ARIEL S                                                 RN, TELEMETRY
              POSUELOZ,ARIEL                                                   RN, SURG & RECOVERY
              PRYOR,VINCENT F                                                  RN, TELEMETRY
              QUILA,REMIEL A                                                   CHARGE NURSE, EMERGENCY ROOM
              QUITZON,MARIA N                                                  RN, EMERGENCY ROOM PD-3
              RAMIREZ,EVELYN B                                                 RN, TELEMETRY
              RAMIREZ PONCE,LUCIO S                                            CHARGE NURSE, ICU
              RAMOS,SHEILA A                                                   RN, CASE MANAGEMENT
              RAMOS GIL,JULIO C                                                RN,ICU
               RANGEL,SANDRA                                                   RN, ACUTE REHAB
               REBUY ACO,ARIANNA                                               RN, ONCOLOGY
               REBUY ACO,TRISTAN L                                             RN,ICU
               REDDIX,TRACY J                                                  CHARGE NURSE, TELEMETRY
               REYES,JENNIE                                                    RN, NURSING ADMIN
               REYES,KA YLA LYNN T                                             RN,ICU
               RINGPIS,MARYLOU B                                               RN,ICU
               RODRIGUEZ,DENISE A                                              RN, ONCOLOGY



Exhibit A - Li~t of Represented St. Vincent Employees - California Nurses Association                            10



                                                                      Exhibit 1
                                                                      000063                                  verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              64 of 95  Page IDDesc
                                                                                #:64
                           Main Document     Page 37 of 66



\ 'Verity Health



              Employee Name                                                   Job Title
              ROH,HAES                                                        RN, ACUTE DIALYSIS
              RUANTO,ROZALDO C                                                RN,CATHLAB
              RUIZ,JENNIE L                                                   RN, MED/SURG 7
              SADEK,SHERINE                                                   RN,ICU
              SALAZAR,GUSTAVO P                                               RN, EMERGENCY ROOM PD-l
              SALCEDO,CHERYL ANN P                                            CHARGE NURSE, MED/SURG 6
              SALDANA,MARIA V                                                 RN, EMERGENCY ROOM PD-l
              SAMSON,TIFFANY A                                                RN, CASE MANAGEMENT PD-l
              SANCHEZ,BEATRIZ A                                               RN, SURG & RECOVERY
              SANDIGAN,ULYSSES M                                               CHARGE NURSE, EMERGENCY ROOM
              SANTIAGO,PATRICIA E                                             RN, NURSING ADMIN
              SANTIAGO,ZAYRA A                                                 RN, NURSING ADMIN
              SANTOS,DONNABEL J                                                RN, MED/SURG 6
              SANTOS,ROSEMARIE A                                              RN, CASE MANAGEMENT
              SATO,ASAMI                                                       RN, TELEMETRY
              SEGISMUNDO,MAXINE G                                              RN, TELEMETRY
              SENATIN,VADA FRANCEZCA                                           RN, TELEMETRY
              SEO,MOON HYANG                                                   CHARGE NURSE, MED/SURG 6
              SHEBELYAN,KRISTINA                                               RN, EMERGENCY ROOM
              SHIM,GEMMA S                                                     RN, MED/SURG 7 KP
               SHIMASAIU,SAYURI H                                              RN,ICU
               SHIN,ALICE S                                                    RN, TELEMETRY
               SHIN,ANNIE J                                                    RN, TELEMETRY
               SHIN,SUNGMIN                                                    RN, SHORT STAY
               SHIN, YOUNG SUK                                                 RN, ACUTE DIALYSIS
               SHORT,JENNIFER L                                                RN, TELEMETRY
               SIA,MARY ANN P                                                  RN, MED/SURG 6
               SIAPNO,JOANN P                                                  RN, ACUTE REHAB
               SMITH-ANDERSON,EMMA D                                           RN, TELEMETRY
               SOK,MICHELLE M                                                  CHARGE NURSE, TELEMETRY
               SOLIS,KARINA                                                    RN, MED/SURG 6
               SONG,EUNO                                                       RN, MED/SURG 6
               SONG,JOOY                                                       RN, EMERGENCY ROOM



Exhibit A ~ List of Represented st. Vincent Employees - California Nurses Association                            11



                                                                      Exhibit 1
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    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              65 of 95  Page IDDesc
                                                                                #:65
                           Main Document     Page 38 of 66



\ 'Verity Health



              Employee Name                                                   JohTitle
              STANWOOD,TERRICA                                                RN,ICU
              STUTZMAN,SHELBY                                                 RN, TELEMETRY
              SUH,YURI                                                        RN, MED/SURG 6
              TAI,ELLENP                                                      RN, SHORT STAY
              TAKAMATSU,RIEKO                                                 RN, TELEMETRY
              TAMANAHA,MA CORAZON S                                           RN, SURG & RECOVERY
              TAN,JENNIFER J                                                  RN,ICU
              TAN,JULIE ANN K                                                 RN, SURG & RECOVERY
              TEVES,RIAA                                                      RN, CASE MANAGEMENT PD-l
              THOMAS, CRISTINA                                                RN, ACUTE DIALYSIS
              TICON-GALLARDO,MARY GRACE R                                     RN, ACUTE REHAB
              TOLEDO,MA KHARISMA D                                            CHARGE NURSE, ICU
              TOLENTINO,CHONA N                                               CHARGE NURSE, ONCOLOGY
              TRAN,DIEMT                                                      RN, MED/SURG 6 PD-3
              TREADWELL,JULITA S                                              RN,ICU
              TRINH,KATHY                                                     RN,ICU
              TULANDA,NSIMBA                                                  RN, ACUTE DIALYSIS
              UCHE,PATRICIA I                                                  RN, MED/SURG 7
              UMALI,MARY KRISTINE L 0                                          RN, MED/SURG 7
              UMALI,ROSANNE 0                                                  RN,ICU
              VALISNO SANCHEZ,MARIA V                                          RN, EMERGENCY ROOM
              VALLES,GIL                                                       RN, SURG & RECOVERY
              V ALMEO,JAN MICHAEL A                                            RN,ICU
               VARDANY AN,KARMEN                                               RN, MED/SURG 6
               VASQUEZ,GRISELDA                                                RN, MED/SURG 6
              VERGARA,HERMIE M                                                 RN, MED/SURG 6
               VIDRIO,MARISELA M                                               RN, TELEMETRY
               VILLAR,MARNlT N                                                 RN, POB DIALYSIS
               VILLAROMAN,CI-I1QUI G                    .                      RN,CATHLAB
               WEBB-FRANCOIS, WENDY                                            RN,ICU
               WILLIAMS,JULIE V                                                RN, MED/SURG 7
               WILLIAMS,MARIA B                                                RN, TELEMETRY
               WILSON,MICHELLE                                                 RN, NURSING ADMIN



Exhibit A - List of Represented st. Vincent Employees - California Nurses Association                       12



                                                                      Exhibit 1
                                                                      000065                             verity.org
    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              66 of 95  Page IDDesc
                                                                                #:66
                           Main Document     Page 39 of 66



\ 'Verity Health



             Employee Name                                                    Job Title
              WU,DEBORAH                                                      RN, TELEMETRY
              YAMZON,ARMI 0                                                   RN,ICU
              YANG,MARIA ROSELLE                                              RN, CASE MANAGEMENT PD-l
              YANG-SERPAS,AMY F                                               RN,ICU
              YAO,SUJUE                                                       RN, ACUTE REHAB
              YU,FERNANDO II L                                                RN, MED/SURG 7
              YUN,CHRISTINA S                                                 RN, SURG & RECOVERY 2
              ZABLAN,RODERICK D                                               RN, EMERGENCY ROOM PD-l




Exhibit A - List of Represented St. Vincent Employees - California Nurses Association                       13



                                                                      Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          67 of 95  Page IDDesc
                                                                            #:67
                       Main Document     Page 40 of 66




                 Exhibit 2




                 Exhibit 2
                                     Exhibit 1
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      Case 2:20-cv-02623-SVW
      Case 2:20-ap-01051-ER Doc  1 Filed
                              Document 1 03/05/20   Entered
                                          Filed 03/19/20     03/05/20
                                                          Page         14:43:43
                                                                68 of 95  Page IDDesc
                                                                                  #:68
                             Main Document     Page 41 of 66


      ' verity Health
       2040 E Mariposa Avenue
       El Segundo. CA 90245



October 23,2019

VIA EMAIL

Andy Prediletto
C.N.A.
225 West Broadway
Suite 500
Glendale, CA 91204
818-637-7129 (office) 1213-810-8222 (mobile)
aprediletto@calnurses.org

Re:     Postponement of Terminations of Employment - WARN Extension

Dear Mr. Andy Prediletto:
This notice is being provided in follow up to the August 12, 2019 notice you received under the Worker
Adjustment and Retraining Notification Act and the California WARN Act advising that separations of
employment would occur between October 18, 2019 and October 31, 2019.
As you know, Verity Health System of California, Inc. and certain affiliates entered into a Court
approved agreement ("Agreement") to sell substantially all of the assets of St. Francis Medical Center,
St. Vincent Medical Center, St. Vincent Dialysis Center, Seton Medical Center and Seton Medical
Center Coastside (together, the "Hospitals") to Strategic Global Management, Inc. ("SGM"), pursuant to
which SGM will purchase the Hospitals and related assets (the "Sale").
The Agreement requires satisfaction of certain milestones to complete the Sale. Not all of the
milestones have been met. Consequently, the separations of employment must be postponed and will
not occur at the time originally anticipated. At this time, we anticipate the Sale and separations of
employment will occur between November 17, 2019 and November 30, 2019.
We will continue to keep you apprised of any new developments and will provide you with updated
information should circumstances change with respect to the Sale and the separations of employment. If
you have any questions or require additional information, please do not hesitate to contact me at (424)
367-0733.
We appreciate your understanding during this time of transition.




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Chief Human Resources Officer

                                                 Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
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                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          69 of 95  Page IDDesc
                                                                            #:69
                       Main Document     Page 42 of 66




                 Exhibit 3




                 Exhibit 3
                                     Exhibit 1
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      Case 2:20-cv-02623-SVW
      Case 2:20-ap-01051-ER Doc  1 Filed
                              Document 1 03/05/20   Entered
                                          Filed 03/19/20     03/05/20
                                                          Page         14:43:43
                                                                70 of 95  Page IDDesc
                                                                                  #:70
                             Main Document     Page 43 of 66




November 25, 2019

By E-Mail

Andy Prediletto
CNA
Email: aprediletto@calnurses.org


Re:     Further Postponement of Terminations of Employment - WARN Extension

Dear Mr. Prediletto:
You were initially notified that separations of employment would occur between October 18, 2019 and
October 31, 2019, pursuant to the notice under the Worker Adjustment and Retraining Notification Act
and the California WARN Act, dated August 12, 2019. This termination window was subsequently
extended to November 17 - November 30, 2019. We are now writing to notify you that the separations
of employment will be further postponed due to the circumstances noted below.
As you know, Verity Health System of California, Inc. and certain affiliates (“Debtors”) entered into a
Court approved agreement (“Agreement”) to sell substantially all of the assets of St. Francis Medical
Center, St. Vincent Medical Center, St. Vincent Dialysis Center, Seton Medical Center and Seton
Medical Center Coastside (together, the “Hospitals”) to Strategic Global Management, Inc. (“SGM”),
pursuant to which SGM will purchase the Hospitals and related assets (the “Sale”).
The Debtors continue to work expeditiously for a prompt close of the Sale with SGM. For example, the
Debtors obtained an order from the court regarding the Attorney General conditions and reached a
settlement with the U.S. Department of Health and Human Services. We are notifying you that we
anticipate the Sale and separations of employment will occur between December 6, 2019 and
December 19, 2019.
We will keep you apprised with respect to the Sale and the separations of employment. If you have any
questions or require additional information, please do not hesitate to contact me at (424) 367-0733.
We appreciate your continued understanding during this time of transition.


                                                     Sincerely,



                                                     Steven Sharrer
                                                     Chief Human Resources Officer




                                                 Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          71 of 95  Page IDDesc
                                                                            #:71
                       Main Document     Page 44 of 66




                 Exhibit 4




                 Exhibit 4
                                     Exhibit 1
                                     000071
 Case 2:20-cv-02623-SVW
 Case 2:20-ap-01051-ER Doc  1 Filed
                         Document 1 03/05/20   Entered
                                     Filed 03/19/20     03/05/20
                                                     Page         14:43:43
                                                           72 of 95  Page IDDesc
                                                                             #:72
                        Main Document     Page 45 of 66




---------- FOlWarded message ---------




From: Adcock, Rich <RichAdcock@verity.org>
Sent: Wednesday, December 18,20192:50:17 PM
Subject: Important Update




                                             1
                                         Exhibit 1
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 Case 2:20-cv-02623-SVW
 Case  2:20-ap-01051-ER Doc 1 Filed
                         Document 1 03/05/20   Entered
                                     Filed 03/19/20     03/05/20
                                                     Page         14:43:43
                                                           73 of 95  Page IDDesc
                                                                             #:73
                        Main Document     Page 46 of 66
Dear Colleagues,




The KPC Group (aka Strategic Global Management, Inc.) failed to close the sale transaction, as
ordered by the Bankruptcy Court. As a result, your employment will NOT end on December 19,
2019, as we had anticipated.



This communication is to follow up on our most recent letter pursuant to the Worker Adjustment
and Retraining Notification Act and the California WARN Act, notifying you that we anticipated
the sale of St. Francis Medical Center, St. Vincent Medical Center, St. Vincent Dialysis Center,
Seton Medical Center and Seton Medical Center Coastside to The KPC Group and the separation
of your employment to occur between December 6, 2019 and December 19, 2019.



We will keep you apprised with respect to any further developments relating to your
employment. We sincerely appreciate your service and dedication to our patients.




Thanks,




Rich




                                                                                                   \

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                                              Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          74 of 95  Page IDDesc
                                                                            #:74
                       Main Document     Page 47 of 66




                 Exhibit 5




                 Exhibit 5
                                     Exhibit 1
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      Case 2:20-cv-02623-SVW
      Case 2:20-ap-01051-ER Doc  1 Filed
                              Document 1 03/05/20   Entered
                                          Filed 03/19/20     03/05/20
                                                          Page         14:43:43
                                                                75 of 95  Page IDDesc
                                                                                  #:75
                             Main Document     Page 48 of 66




January 10, 2020


By U.S. Mail and Email

Andrew Prediletto
C.N.A.
225 West Broadway, Suite 500
Glendale, CA 91204
aprediletto@calnurses.org


Re:     Notice Pursuant to Worker Adjustment and Retraining Notification Act
        and the California WARN Act

Dear Mr. Andrew Predilleto:
This notice is being issued to you under the Worker Adjustment and Retraining Notification Act, 29
U.S.C. §§2101 et seq. (the “WARN Act”) and the California WARN Act, California Labor Code
§§1400-1408 (“Cal-WARN Act”). The purpose of this notice is to inform you of the permanent closure
of St. Vincent Medical Center, located at 2131 West Third Street, Los Angeles, CA 90057, and St.
Vincent Dialysis Center, located at 201 S. Alvarado St., Los Angeles, CA 90057 (together, “St.
Vincent”).

On August 31, 2018, Verity Health System of California, Inc. (“VHS”) and sixteen of its affiliates,
including St. Vincent (referred to collectively with VHS and other debtor affiliates as the “Debtors”),
filed for Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the Central District
of California, and are being jointly administered under Lead Case No. 2:18-bk-20151.

The Debtors entered an agreement to sell St. Vincent and other assets to KPC Group, aka Strategic
Global Management, Inc. (together, “SGM”), which was approved by the Bankruptcy Court. In
connection with the planned sale, we previously noticed you of the anticipated separations of
employment in accordance with the WARN Act and Cal-WARN Act. The timing of that WARN notice
was based upon the agreement with SGM. The Debtors expected the sale to be completed because the
Bankruptcy Court approved the sale and entered an order providing that SGM was obligated to close the
sale. SGM, however, did not close the sale. Given SGM’s failure to close the sale transaction, and there
being no feasible alternative for continued operations, the Debtors made the difficult decision to close
St. Vincent. The Court granted the Debtors’ emergency motion for authority to close St. Vincent on
January 9, 2020 (the “Order”). Consequently, you are receiving this WARN notice.

We know that you were aware of the separations of employment at St. Vincent based on the prior
WARN notice you received. We had hoped there would be an opportunity for continued employment
with SGM when the sale closed. In light of the unforeseen circumstances relating to the sale and the

                                                 Exhibit 1
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    Case 2:20-cv-02623-SVW
    Case 2:20-ap-01051-ER Doc  1 Filed
                            Document 1 03/05/20   Entered
                                        Filed 03/19/20     03/05/20
                                                        Page         14:43:43
                                                              76 of 95  Page IDDesc
                                                                                #:76
                           Main Document     Page 49 of 66




unexpected need to close St. Vincent as a last resort, this additional WARN notice is being provided to
you as soon as practicable after the Order.

In connection with the closure, the Debtors will be separating the employment of all of St. Vincent’s
employees. Based on the best information available to date, we believe the closure and separations of
employment will occur between January 14, 2020 and January 27, 2020. A list of the job titles of
positions affected and the names of the workers currently holding the affected jobs is attached hereto as
Exhibit A.

If you have any questions or require additional information, please do not hesitate to contact me at (424)
367-0733.


Sincerely,


Steven Sharrer
Chief Human Resources Officer



Enclosure: Exhibit A




                                                  Exhibit 1
                                                  000076
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          77 of 95  Page IDDesc
                                                                            #:77
                       Main Document     Page 50 of 66




                                         EXHIBIT A
                      List of Represented St. Vincent Employees - CNA


 Employee Last Name             First Name               Job Title
 ADRINEDA                       LORINNE                  RN, ICU
 AGUSTIN                        RACHELLE ANN             RN, ICU
 ALDANA                         MARCO                    RN, ICU
 AMADOR                         PAMELA                   RN, ICU
 APOLINAR                       JOCELYN                  CHARGE NURSE, ICU
 BALLADA                        GLENDA                   RN, ICU
 BATISTA                        CRYSTAL                  RN, ICU
 BERNARDO                       KATHLEEN                 RN, ICU
 BOESSI                         CHRISTOPHINE             RN, ICU
 CARO                           ALYSSA                   RN, ICU
 CENTENO                        MARIA LIBERTY            RN, ICU
 CHAVEZ                         SILVIA                   RN, ICU
 CHEA                           DAVY                     RN, ICU
 CLARK                          ELIZABETH                RN, ICU
 CRUZ                           SYLVIA                   RN, ICU
 DAO                            CONNIE                   RN, ICU
 FERNANDEZ                      RODIERAECA               RN, ICU
 FERRER                         RONALD                   RN, ICU
 GEMZON                         JOPHE                    CHARGE NURSE, ICU
 GOMEZ                          AARON                    RN, ICU
 HAKOPIAN                       MELINA                   RN, ICU PD-3
 HO                             THERESE                  RN, ICU
 JANG                           EUNHAE                   RN, ICU
 JUAREZ                         MARIANA                  RN, ICU
 JUNG                           JU YOUNG                 RN, ICU PD-1

                                         Exhibit A - 1



                                             Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          78 of 95  Page IDDesc
                                                                            #:78
                       Main Document     Page 51 of 66




 Employee Last Name         First Name               Job Title
 KANG                       SANDY                    RN, ICU
 KIM                        AIMEE                    RN, ICU
 KIM                        KAREN                    RN, ICU
 LAY                        XUANANH                  RN, ICU
 LOZANO                     CARMEN                   RN, ICU
 MANALO                     ARLENE                   RN, ICU
 MANAYTAY                   NELLAFLOR                RN, ICU
 NATIVIDAD                  PAUL                     RN, ICU
 ODIA                       IRENE                    RN, ICU
 ORIENZA                    MINA RIA                 RN, ICU
 PEREIRA                    JOSUE                    RN, ICU PD-1
 PETERSON                   MA ARSENIA               RN, ICU
 PONCE                      BELKI                    RN, ICU
 RAMIREZ PONCE              LUCIO                    CHARGE NURSE, ICU
 RAMOS GIL                  JULIO                    RN, ICU
 REBUYACO                   TRISTAN                  RN, ICU
 RESURRECCION               NINA GRACE               RN, ICU
 REYES                      KAYLA LYNN               RN, ICU
 RINGPIS                    MARYLOU                  RN, ICU
 SADEK                      SHERINE                  RN, ICU
 SHIMASAKI                  SAYURI                   RN, ICU
 STANWOOD                   TERRICA                  RN, ICU
 TAN                        JENNIFER                 RN, ICU
 TOLEDO                     MA KHARISMA              CHARGE NURSE, ICU
 TREADWELL                  JULITA                   RN, ICU
 TRINH                      KATHY                    RN, ICU


                                     Exhibit A - 2




                                         Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          79 of 95  Page IDDesc
                                                                            #:79
                       Main Document     Page 52 of 66




 Employee Last Name         First Name               Job Title
 UMALI                      ROSANNE                  RN, ICU
 VALMEO                     JAN MICHAEL              RN, ICU
 YAMZON                     ARMI                     RN, ICU
 ALQUIROZ                   JHOANNA                  RN, TELEMETRY
 ARREGLO                    VICTORIA                 RN, TELEMETRY
 BAL                        JENNIFER JOY             RN, TELEMETRY
 BATAC                      AIMEE                    RN, TELEMETRY
 BELLOSO                    FRANCINE                 RN, TELEMETRY PD-1
 BURRELL                    LISA                     RN, TELEMETRY
 CALZADO                    JANET                    RN, TELEMETRY
 CARREIRO                   ANNIE                    RN, TELEMETRY
 CHANG                      SUN                      RN, TELEMETRY
 CHO                        JUNG                     RN, TELEMETRY
 CHOI                       EUN AH                   RN, TELEMETRY
 CHOI                       SOONKI                   RN, TELEMETRY
 CORTEZ                     SHANNON                  RN, TELEMETRY
 CUELLAR                    MATTHEW                  RN, TELEMETRY
 DADASHYAN                  INNA                     RN, TELEMETRY PD-1
 DE LEON                    BRENNA                   RN, TELEMETRY
 FERNANDEZ                  NOLIE                    RN, TELEMETRY
 FINLEY                     KASUMI                   RN, TELEMETRY
 GAGUAN                     CHRISTINA                RN, TELEMETRY
 GAMUROT                    ANNE CAROLINE            RN, TELEMETRY
 GUTIERREZ                  LUZ                      RN, TELEMETRY
 HERTZ                      ALEXANDRA                RN, TELEMETRY
 INNOCENT                   COURTNEY                 RN, TELEMETRY


                                    Exhibit A - 3




                                         Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          80 of 95  Page IDDesc
                                                                            #:80
                       Main Document     Page 53 of 66




 Employee Last Name         First Name               Job Title
 IZUCHUKWU-MUONAGOR         RITA                     RN, TELEMETRY
 KANG                       MISEON                   RN, TELEMETRY
 KIM                        JUNGWOO                  RN, TELEMETRY
 KIM                        KUNTHY                   CHARGE NURSE, TELEMETRY
 LAGUMBAY                   SUZETTE                  RN, TELEMETRY
 LEE                        GINA                     RN, TELEMETRY
 LICUP                      RONALD                   CHARGE NURSE, TELEMETRY
 LOPES                      STEVEN                   RN, TELEMETRY
 LOPEZ                      ANGELA                   RN, TELEMETRY
 MUNOZ                      TAMARA                   RN, TELEMETRY
 NAM                        JISUN                    RN, TELEMETRY
 NGUYEN                     DON                      RN, TELEMETRY
 NICOLAS                    EMILY                    RN, TELEMETRY
 NOTARIO                    ZACHARY                  RN, TELEMETRY PD-1
 NYE                        HAYLEY                   RN, TELEMETRY
 OUATTARA                   NAGNINLTAHA              RN, TELEMETRY
 PARK                       CHUNG AH                 RN, TELEMETRY
 PARK                       SUE                      RN, TELEMETRY
 PARUNGAO                   ARLENE                   RN, TELEMETRY
 PESA                       EVELYN                   RN, TELEMETRY
 POSUELOZ                   ARIEL                    RN, TELEMETRY
 PRYOR                      VINCENT                  RN, TELEMETRY
 RAMIREZ                    EVELYN                   RN, TELEMETRY
 REDDIX                     TRACY                    CHARGE NURSE, TELEMETRY
 SATO                       ASAMI                    RN, TELEMETRY
 SEGISMUNDO                 MAXINE                   RN, TELEMETRY


                                    Exhibit A - 4




                                         Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          81 of 95  Page IDDesc
                                                                            #:81
                       Main Document     Page 54 of 66




 Employee Last Name         First Name               Job Title
 SENATIN                    VADA FRANCEZCA           RN, TELEMETRY
 SHIN                       ALICE                    RN, TELEMETRY
 SHIN                       ANNIE                    RN, TELEMETRY
 SHORT                      JENNIFER                 RN, TELEMETRY
 SMITH-ANDERSON             EMMA                     RN, TELEMETRY
 SOK                        MICHELLE                 CHARGE NURSE, TELEMETRY
 STUTZMAN                   SHELBY                   RN, TELEMETRY
 TAKAMATSU                  RIEKO                    RN, TELEMETRY
 VIDRIO                     MARISELA                 RN, TELEMETRY
 WILLIAMS                   MARIA                    RN, TELEMETRY
 WU                         DEBORAH                  RN, TELEMETRY
 ABRISHAMIAN                MANDANA                  RN, MED/SURG 6
 ADARO                      VIDA                     RN, MED/SURG 6
 ALIBUTOD                   RODERICK                 RN, MED/SURG 6
 BALCRUZ                    THERESA                  RN, MED/SURG 6
 BALINGIT                   NORMITA                  RN, MED/SURG 6
 BAYLON                     RONEL                    RN, MED/SURG 6
 BERANGO                    NICOMEDES                RN, MED/SURG 6
 BOONE                      LASHANDA                 RN, MED/SURG 6
 BURCH                      KATALEE                  RN, MED/SURG 6
 CABANAS                    JEANETTE                 RN, MED/SURG 6
 CABAUATAN DUMAG            MICHELLE                 CHARGE NURSE, MED/SURG 6
 CAO                        JENNIFER                 RN, MED/SURG 6
 CEMANESEVANGELISTA         CLARISSE                 RN, MED/SURG 6
 CHOI                       IN                       RN, MED/SURG 6
 CHUNG                      HA NIE                   RN, MED/SURG 6


                                     Exhibit A - 5




                                         Exhibit 1
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Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          82 of 95  Page IDDesc
                                                                            #:82
                       Main Document     Page 55 of 66




 Employee Last Name         First Name               Job Title
 DORIA                      MIRIAM                   RN, MED/SURG 6 PD-1
 FITKOWSKI                  ANDREW                   RN, MED/SURG 6
 GARCIA                     DOROTHY                  RN, MED/SURG 6
 GONZALES                   YVETTE                   CHARGE NURSE, MED/SURG 6
 GUZMAN                     JAMES BRIAN              RN, MED/SURG 6
 HAN                        BONA                     RN, MED/SURG 6
 ITANI                      KAZUMI                   RN, MED/SURG 6
 KATIGBAK                   AGNES                    RN, MED/SURG 6
 KIM                        HYEON SOO                RN, MED/SURG 6
 LEE                        BO                       RN, MED/SURG 6
 LEE                        JOMAR                    RN, MED/SURG 6
 LEE                        NAM                      RN, MED/SURG 6
 LEE                        ROBIN                    RN, MED/SURG 6
 LEE                        SARAH SO-YOUNG           RN, MED/SURG 6
 LEON                       CINZIA                   RN, MED/SURG 6
 LIM                        ROWENA                   RN, MED/SURG 6
 LO                         CELINA                   RN, MED/SURG 6
 LOPEZ                      MA VICTORIA              RN, MED/SURG 6
 LUZURIAGA                  RYAN                     RN, MED/SURG 6
 MANALO                     MARIA CECILIA            RN, MED/SURG 6
 MILIAN                     RAMIRO                   RN, MED/SURG 6
 ORANTE                     CHRISTIAN                RN, MED/SURG 6
 ORIS                       JACQUELINE               RN, MED/SURG 6
 OSE                        TATIANA                  RN, MED/SURG 6
 PALANCA                    RYAN                     RN, MED/SURG 6
 POSADAS                    NIDA                     RN, MED/SURG 6


                                     Exhibit A - 6




                                         Exhibit 1
                                         000082
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          83 of 95  Page IDDesc
                                                                            #:83
                       Main Document     Page 56 of 66




 Employee Last Name         First Name               Job Title
 SALCEDO                    CHERYL ANN               CHARGE NURSE, MED/SURG 6
 SEO                        MOON HYANG               CHARGE NURSE, MED/SURG 6
 SIA                        MARY ANN                 RN, MED/SURG 6
 SOLIS                      KARINA                   RN, MED/SURG 6
 SONG                       EUN                      RN, MED/SURG 6
 SUH                        YURI                     RN, MED/SURG 6
 TRAN                       DIEM                     RN, MED/SURG 6 PD-3
 VASQUEZ                    GRISELDA                 RN, MED/SURG 6
 VERGARA                    HERMIE                   RN, MED/SURG 6
 ABAD                       ROMEO                    RN, MED/SURG 7
 ARSUA                      AILEEN                   RN, MED/SURG 7
 BIGASIN                    JHOANNA                  RN, MED/SURG 7
 BUENO                      REGINALD                 RN, MED/SURG 7
 CARRILLO                   MARICELA                 CHARGE NURSE, MED/SURG 7
 CHOI                       ALICIA                   RN, MED/SURG 7
 CHUA                       MA SHEILA                RN, MED/SURG 7
 CORONA                     DAISY                    RN, MED/SURG 7
 CUBE                       REALLINE                 RN, MED/SURG 7
 DINSAY                     ANNABELLE                RN, MED/SURG 7
 EHSAN                      RAHAL                    RN, MED/SURG 7
 GARCIA                     SHERWIN                  CHARGE NURSE, MED/SURG 7
 GO                         EDWIN                    RN, MED/SURG 7
 GONZALES                   KRISTINE                 RN, MED/SURG 7
 INTAL                      MARIVIC GRACE            RN, MED/SURG 7
 KIM                        BOOYOUNG                 RN, MED/SURG 7
 LEGASPI                    ROMMEL                   RN, MED/SURG 7


                                     Exhibit A - 7




                                         Exhibit 1
                                         000083
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          84 of 95  Page IDDesc
                                                                            #:84
                       Main Document     Page 57 of 66




 Employee Last Name         First Name               Job Title
 LORICA                     RHODA                    RN, MED/SURG 7
 MINGUEZ                    MARY MAE                 RN, MED/SURG 7 PD-1
 OBILLE                     MARK                     RN, MED/SURG 7
 OCAMPO                     GEORGE                   RN, MED/SURG 7
 RUIZ                       JENNIE                   RN, MED/SURG 7
 UCHE                       PATRICIA                 RN, MED/SURG 7
 UMALI                      MARY KRISTINE L          RN, MED/SURG 7
 YU                         FERNANDO II              RN, MED/SURG 7
 BAE                        STELLA                   RN, MED/SURG 7 KP
 HA                         DA YEONG                 RN, MED/SURG 7 KP
 JANG                       JONGSOOK                 RN, MED/SURG 7 KP
 KIM                        MEEYUN                   RN, MED/SURG 7 KP
 KO                         HYANGMI                  RN, MED/SURG 7 KP
 LIM                        SEUNGAE                  RN, MED/SURG 7 KP
 MALIT                      CHERYL JOY               RN, MED/SURG 7 KP
 MARTINEZ                   KAREN KAYE               RN, MED/SURG 7 KP
 SHIM                       GEMMA                    RN, MED/SURG 7 KP
 BRACAMONTE                 JESSICA                  RN, ONCOLOGY
 CAMPOS                     YASMINI                  RN, ONCOLOGY
 CEBALLOS                   VILMAR                   RN, ONCOLOGY
 CUARESMA                   DENICE                   RN, ONCOLOGY
 DATOR                      COSSETTE                 RN, ONCOLOGY
 ESTRADA                    MARTIN                   RN, ONCOLOGY
 EVANGELISTA                ALLAN                    CHARGE NURSE, ONCOLOGY
 GILL                       JAGVEER                  RN, ONCOLOGY
 MACAPAGAL                  YOLANDA                  RN, ONCOLOGY


                                     Exhibit A - 8




                                         Exhibit 1
                                         000084
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          85 of 95  Page IDDesc
                                                                            #:85
                       Main Document     Page 58 of 66




 Employee Last Name         First Name               Job Title
 MANALO                     EVELYN                   RN, ONCOLOGY
 PLAZO                      JONATHAN                 RN, ONCOLOGY
 REBUYACO                   ARIANNA                  RN, ONCOLOGY
 RODRIGUEZ                  DENISE                   RN, ONCOLOGY
 TOLENTINO                  CHONA                    CHARGE NURSE, ONCOLOGY
 AMPONG                     GRANVILLE                RN, ACUTE REHAB
 APELIZAN                   PAULA LORENA             RN, ACUTE REHAB
 BAE                        YEAHEUN                  RN, ACUTE REHAB
 BOTE                       ROMERO                   RN, ACUTE REHAB
 DADHANIA                   AKRUTI                   RN, ACUTE REHAB
 GUMAYAGAY                  VINA                     RN, ACUTE REHAB
 JANG                       JI-YOUNG                 RN, ACUTE REHAB
 KIM                        JUNGMIN                  RN, ACUTE REHAB
 NGUYEN                     KELLY THUY-              RN, ACUTE REHAB
                            KHANH
 NOBLEFRANCA                CHITA                    RN, ACUTE REHAB
 PARK                       ELLEN                    RN, ACUTE REHAB
 PASCUA                     JULIA                    RN, ACUTE REHAB
 PERALTA                    VIOLETA                  RN, ACUTE REHAB
 RANGEL                     SANDRA                   RN, ACUTE REHAB
 SIAPNO                     JOANN                    RN, ACUTE REHAB
 TICON-GALLARDO             MARY GRACE               RN, ACUTE REHAB
 YAO                        SUJUE                    RN, ACUTE REHAB
 ACOYMO                     KERWIN                   RN, EMERGENCY ROOM PD-3
 ADLAWAN-DOBLE              MARIA ROSELIE            RN, AUDITOR - EMER. ROOM 10/40
 ADRAYAN                    GILBERT                  RN, EMERGENCY ROOM PD-3
 AGUILAR                    JUSTIN                   RN, EMERGENCY ROOM PD-1

                                     Exhibit A - 9




                                         Exhibit 1
                                         000085
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          86 of 95  Page IDDesc
                                                                            #:86
                       Main Document     Page 59 of 66




 Employee Last Name         First Name               Job Title
 ASTAKHINA                  LYUDMYLA                 RN, EMERGENCY ROOM
 ATIENZA                    JORDAN                   RN, EMERGENCY ROOM
 BAUTISTA                   DINO LOREN               RN, EMERGENCY ROOM
 CALIBOSO                   MITCH DATOR              RN, EMERGENCY ROOM PD-2
 CANLAS                     MICHAEL                  RN, EMERGENCY ROOM PD-3
 CERVANTES                  REDENTOR                 CHARGE NURSE, EMERGENCY ROOM
 CHAE                       JEONG                    RN, EMERGENCY ROOM
 CHAN                       ELAINE                   RN, EMERGENCY ROOM PD-1
 CHO                        ANDY                     RN, EMERGENCY ROOM
 CHOTAROONVIPHAT            LADDA                    RN, EMERGENCY ROOM
 DANIEL                     JOANNA                   RN, EMERGENCY ROOM
 DAVIDSON                   ALTHIA                   RN, EMERGENCY ROOM
 DIONISIO                   BERNARD                  RN, EMERGENCY ROOM PD-1
 IBARRA                     JACOB                    RN, EMERGENCY ROOM PD-3
 LIM                        TERESA                   RN, EMERGENCY ROOM
 MANALO                     ALEXIS                   RN, EMERGENCY ROOM PD-2
 MENDOZA                    KEIR                     RN, EMERGENCY ROOM
 MESA                       ROCIO                    RN, EMERGENCY ROOM
 MOORE                      PORTIA                   RN, EMERGENCY ROOM
 NAJARRO                    NANCY                    CHARGE NURSE, EMERGENCY ROOM
 NICOLAS                    ELI JOHN                 RN, EMERGENCY ROOM PD-2
 OLYNYK                     CELESTE                  RN, EMERGENCY ROOM
 ONYEJIJI                   IJEOMA                   RN, EMERGENCY ROOM
 ORELLANA                   GABRIELLA                RN, EMERGENCY ROOM
 PENSERGA                   MA BRENDA                RN, EMERGENCY ROOM
 QUILA                      REMIEL                   CHARGE NURSE, EMERGENCY ROOM


                                    Exhibit A - 10




                                         Exhibit 1
                                         000086
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          87 of 95  Page IDDesc
                                                                            #:87
                       Main Document     Page 60 of 66




 Employee Last Name         First Name               Job Title
 QUITZON                    MARIA                    RN, EMERGENCY ROOM PD-3
 SALAZAR                    GUSTAVO                  RN, EMERGENCY ROOM PD-1
 SALDANA                    MARIA                    RN, EMERGENCY ROOM PD-1
 SANDIGAN                   ULYSSES                  CHARGE NURSE, EMERGENCY ROOM
 SONG                       JOO                      RN, EMERGENCY ROOM
 VALISNO SANCHEZ            MARIA                    RN, EMERGENCY ROOM
 ZABLAN                     RODERICK                 RN, EMERGENCY ROOM PD-1
 ABAD                       JENNIFER                 RN, POB DIALYSIS PD-3
 CHOI                       MIRAN                    RN, POB DIALYSIS
 DE QUIROS                  IVY LEE                  RN, POB DIALYSIS PD-1
 LEE                        YUN                      RN, POB DIALYSIS PD-2
 LIM                        REBECCA                  RN, POB DIALYSIS
 LIM                        SEOKSOON                 RN, POB DIALYSIS
 OH                         KYUNG SOON               RN, POB DIALYSIS
 VILLAR                     MARNIT                   RN, POB DIALYSIS
 ALDRETE                    MANUEL                   CHARGE NURSE, SHORT STAY
 ARGUETA-CORDERO            FRANCISCO                RN, SHORT STAY
 CHOI                       PILL                     RN, SHORT STAY
 DERECI                     MARY ANN                 RN, SHORT STAY
 GARCIA                     RHODORA                  RN, SHORT STAY
 JIMENEZ                    EVANGELINE               RN, SHORT STAY 12HR
 KILALA                     MARY JANE                RN, SHORT STAY
 KIM                        HYANGHEE                 RN, SHORT STAY
 LEE                        HYAE JIN                 RN, SHORT STAY
 LIM                        HYO                      RN, SHORT STAY
 PARK                       JINSUN                   RN, SHORT STAY


                                    Exhibit A - 11




                                         Exhibit 1
                                         000087
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          88 of 95  Page IDDesc
                                                                            #:88
                       Main Document     Page 61 of 66




 Employee Last Name         First Name               Job Title
 SHIN                       SUNGMIN                  RN, SHORT STAY
 TAI                        ELLEN                    RN, SHORT STAY
 BALINGIT                   CORAZON                  CHARGE NURSE, SURG & RECOVERY
 CHANG                      MARY                     RN, SURG & RECOVERY
 CRUDUP                     IMANI                    RN, SURG & RECOVERY
 DEEGAN                     GERARD                   RN, SURG & RECOVERY
 DUMLAO                     TERESITA                 RN, SURG & RECOVERY
 EOM                        HOKYOUNG                 RN, SURG & RECOVERY
 FAMILARA                   MYRA                     RN, SURG & RECOVERY PD-3
 HEO                        GJIYOUNG                 RN, SURG & RECOVERY
 LYON                       LORNA                    RN, SURG & RECOVERY
 MENDOZA                    MARILOU                  RN, SURG & RECOVERY
 POSUELOZ                   ARIEL                    RN, SURG & RECOVERY
 SANCHEZ                    BEATRIZ                  RN, SURG & RECOVERY
 TAMANAHA                   MA CORAZON               RN, SURG & RECOVERY
 TAN                        JULIE ANN                RN, SURG & RECOVERY
 KANG                       SO HEE                   RN, SURG & RECOVERY 2
 MUZYCHUK                   NELLI                    RN, SURG & RECOVERY 2
 YUN                        CHRISTINA                RN, SURG & RECOVERY 2
 CHO                        MEONGHEE                 RN, RECOVERY ROOM
 CROWLEY                    VALERIE                  RN, RECOVERY ROOM
 CUPP                       CHRISTINE                RN, RECOVERY ROOM 10HR
 NILO                       VIDAL                    RN, RECOVERY ROOM
 ORAIS                      GRECITA PRIMA            RN, RECOVERY ROOM
 BAUTISTA PALANOG           MARICEL                  RN, CATH LAB PD-1
 CROWLEY                    VERONICA                 RN, CATH LAB


                                    Exhibit A - 12




                                         Exhibit 1
                                         000088
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          89 of 95  Page IDDesc
                                                                            #:89
                       Main Document     Page 62 of 66




 Employee Last Name         First Name                Job Title
 DUTTON                     NOELLE                    RN, CATH LAB (STEMI)
 GERMINAL                   GLADYS                    RN, CATH LAB
 HIPUS                      JOSEFINA                  RN, CATH LAB
 KIM                        SINSIL                    RN, CATH LAB
 LEE                        EUNJIN                    RN, CATH LAB
 RUANTO                     ROZALDO                   RN, CATH LAB
 VILLAROMAN                 CHIQUI                    RN, CATH LAB
 ASSADI                     AMIR                      RN, INTERVENTIONAL RADIOLOGY
 BAZAN                      GERARDO                   CHARGE NURSE, INTER. RADIOLOGY
 MAYFIELD                   CHRIS                     RN, INTERVENTIONAL RADIOLOGY
 BIRIOUKOV                  LEONID                    RN, ACUTE DIALYSIS PD-2
 CAISIP                     THADEUS                   RN, ACUTE DIALYSIS
 DANG                       PAULINE                   RN, ACUTE DIALYSIS
 DEL FIERRO                 JOSEPH ARNEL              RN, ACUTE DIALYSIS
 DORAN                      CHARLES                   RN, ACUTE DIALYSIS
 GROEHLER                   MIRA                      RN, ACUTE DIALYSIS
 KIM                        GEUMCHUL                  RN, ACUTE DIALYSIS
 LEYRAN                     NOEL                      RN, ACUTE DIALYSIS
 LICAYAN                    SORIANO                   RN, ACUTE DIALYSIS
 OH                         YESUL                     RN, ACUTE DIALYSIS PD-3
 PARK                       KI                        RN, ACUTE DIALYSIS
 ROH                        HAE                       RN, ACUTE DIALYSIS
 SHIN                       YOUNG SUK                 RN, ACUTE DIALYSIS
 THOMAS                     CRISTINA                  RN, ACUTE DIALYSIS
 TULANDA                    NSIMBA                    RN, ACUTE DIALYSIS
 DUMANSKY                   ELENA                     RN GI LAB-8/80


                                     Exhibit A - 13




                                         Exhibit 1
                                         000089
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          90 of 95  Page IDDesc
                                                                            #:90
                       Main Document     Page 63 of 66




 Employee Last Name         First Name                Job Title
 ESTELL                     CORNELIA                  CHARGE NURSE, GI LAB
 LARGAESPADA                FRANCES                   RN GI LAB-8/80
 AQUINO                     HILDA                     EDUCATOR, LEAD CLINICAL RN
 CHUA                       HONEE                     EDUCATOR, CLINICAL RN 10HR
 CERAOS                     JERIC                     RN, NURSING ADMIN
 GOLORAN                    PATRICIA                  RN, NURSING ADMIN
 REYES                      JENNIE                    RN, NURSING ADMIN
 SANTIAGO                   PATRICIA                  RN, NURSING ADMIN
 SANTIAGO                   ZAYRA                     RN, NURSING ADMIN
 WILSON                     MICHELLE                  RN, NURSING ADMIN
 ALWAN                      ALEXZANDRIA               RN, CASE MANAGEMENT PD-3
 BALUYOT                    VANESSA FAYE              RN, CASE MANAGEMENT
 CHANG                      AH YEON                   RN, CASE MANAGEMENT
 CHOI                       BO YEON                   RN, CASE MANAGEMENT PD-1
 CRUZ                       LIEZL                     RN, CASE MANAGEMENT PD-1
 ENRIQUEZ                   VERE JONAS                RN CASE MANAGEMENT
 LEMUS                      LITA                      RN, CASE MANAGEMENT
 LENON                      AUDREY                    RN, CASE MANAGEMENT
 LUISTRO                    ROMEO                     RN, CASE MANAGEMENT
 MADLANGBAYAN               HAYCELYN                  RN, CASE MANAGEMENT
 MCFARLAND                  ALLEN GRACE               RN, CASE MANAGEMENT
 MOJARRO                    YARETH                    RN, CASE MANAGEMENT PD-2
 OANDASAN                   JAYCEL                    RN, CASE MANAGEMENT
 RAMOS                      SHEILA                    RN, CASE MANAGEMENT
 SAMSON                     TIFFANY                   RN, CASE MANAGEMENT PD-1
 SANTOS                     ROSEMARIE                 RN, CASE MANAGEMENT


                                     Exhibit A - 14




                                         Exhibit 1
                                         000090
Case 2:20-cv-02623-SVW
Case 2:20-ap-01051-ER Doc  1 Filed
                        Document 1 03/05/20   Entered
                                    Filed 03/19/20     03/05/20
                                                    Page         14:43:43
                                                          91 of 95  Page IDDesc
                                                                            #:91
                       Main Document     Page 64 of 66




 Employee Last Name         First Name               Job Title
 TEVES                      RIA                      RN, CASE MANAGEMENT PD-1
 YANG                       MARIA ROSELLE            RN, CASE MANAGEMENT PD-1




                                   Exhibit A - 15




                                         Exhibit 1
                                         000091
             Case 2:20-cv-02623-SVW
             Case 2:20-ap-01051-ER Doc  1 Filed
                                     Document 1 03/05/20   Entered
                                                 Filed 03/19/20     03/05/20
                                                                 Page         14:43:43
                                                                       92 of 95  Page IDDesc
                                                                                         #:92
                                    Main Document     Page 65 of 66
    B1040 (FORM 1040) (12/15)

              ADVERSARY PROCEEDING COVER SHEET                                                                 ADVERSARY PROCEEDING NUMBER
                                                                                                               (Court Use Only)
                      (Instructions on Reverse)

 PLAINTIFFS                                                                               DEFENDANTS
                                                                                         Verity Health Systems of California, Inc, a California nonprofit public benefit corporation;
California Nurses Association                                                            St. Vincent Medical Center, an affiliate; St. Francis Medical Center, an affiliate; Seton
                                                                                         Medical Center, an affiliate; Verity Holdings, LLC, an affiliate; DePaul Ventures, LLC, an
                                                                                         affiliate; Richard Adcock, an individual; Steven Sharrer, an individual


 ATTORNEYS (Firm Name, Address, and Telephone No.)                                        ATTORNEYS (If Known)
Carol Igoe (SBN 267673)                 California Nurses Association                    Sam Alberts                     An Ruda
cigoe@calnurses.org                     155 Grand Avenue                                 sam.alberts@dentons.com         aruda@BZBM
Kyrsten Skogstad (SBN 281583)           Oakland, CA 94612                                Denton's US LLP                 Bartko Zankel Bunzel
kskogstad@calnurses.org                 510-273-2273                                     1900 K Street, NW               One Embarcadero Center, Suite 800
Nicole Daro (SBN 276948)                                                                 Washington, DC 2006             San Francisco, CA 94111
ndaro@calnurses.org                                                                      T: 202-408-7004                 T: 415-956-1900



 PARTY (Check One Box Only)                        PARTY (Check One Box Only)
 □ Debtor    □ U.S. Trustee/Bankruptcy Admin       □ Debtor       □ U.S. Trustee/Bankruptcy Admin
 □ Creditor  □ Other                               □ Creditor     □ Other
 □ Trustee                                         □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Violations of 29 U.S.C. section 2100, et. seq., California Labor Code section 1400, et. seq. ,
Intentional Misrepresentation by Concealment, Negligent Misrepresentation


                                                                          NATURE OF SUIT
            (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


 □                                                                                        □
       FRBP 7001(1) – Recovery of Money/Property                                          FRBP 7001(6) – Dischargeability (continued)


 □                                                                                        □
       11-Recovery of money/property - §542 turnover of property                             61-Dischargeability - §523(a)(5), domestic support


 □                                                                                        □
       12-Recovery of money/property - §547 preference                                       68-Dischargeability - §523(a)(6), willful and malicious injury
       13-Recovery of money/property - §548 fraudulent transfer                              63-Dischargeability - §523(a)(8), student loan

 □     14-Recovery of money/property - other                                              □     64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                                   (other than domestic support)


 □
       FRBP 7001(2) – Validity, Priority or Ex tent of Lien

       21-Validity, priority or extent of lien or other interest in property
                                                                                          □    65-Dischargeability - other


                                                                                          □
                                                                                          FRBP 7001(7) – Injunctive Relief
       FRBP 7001(3) – Approval of Sale of Property

 □
                                                                                             71-Injunctive relief – imposition of stay
       31-Approval of sale of property of estate and of a co-owner - §363(h)              □     72-Injunctive relief – other
       FRBP 7001(4) – Objection/Revocation of Discharge

 □
                                                                                          FRBP 7001(8) Subordination of Claim or Interest
       41-Objection / revocation of discharge - §727(c),(d),(e)                           □     81-Subordination of claim or interest
       FRBP 7001(5) – Revocation of Confirmation

 □
                                                                                          FRBP 7001(9) Declaratory Judgment
       51-Revocation of confirmation
                                                                                          □     91-Declaratory judgment

 □
       FRBP 7001(6) – Dischargeability                                                    FRBP 7001(10) Determination of Removed Action


 □
       66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims

       62-Dischargeability - §523(a)(2), false pretenses, false representation,
                                                                                          □     01-Determination of removed claim or cause


                                                                                          □
           actual fraud                                                                   Other

 □                                                                                            SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.

                                                                                          □
       67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny
                                (continued nex t column)                                        02-Other (e.g. other actions that would have been brought in state court
                                                                                                   if unrelated to bankruptcy case)
 □ Check if this case involves a substantive issue of state law                           □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                                         Demand $
 Other Relief Sought
Damages to be Proved At Trial; General Damages, Special Damages, Statutory Damages, Punitive Damages, Attorneys' Fees and Expenses;
Prejudgment Interest




                                                                                  Exhibit 1
                                                                                  000092
       Case 2:20-cv-02623-SVW
       Case 2:20-ap-01051-ER Doc  1 Filed
                               Document 1 03/05/20   Entered
                                           Filed 03/19/20     03/05/20
                                                           Page         14:43:43
                                                                 93 of 95  Page IDDesc
                                                                                   #:93
                              Main Document     Page 66 of 66
  B1040 (FORM 1040) (12/15)

                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING                                  ARISES
NAME OF DEBTOR                                               BANKRUPTCY CASE NO.
Verity Health Systems of California, Inc., et. al.          2:18-bk-20151-ER
DISTRICT IN WHICH CASE IS PENDING                            DIVISION OFFICE                             NAME OF JUDGE
Central District of California                              Los Angeles                                  Hon. Ernest M. Robles
                                 RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                          DEFENDANT                                             ADVERSARY
None                                                  None                                               PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/ Kyrsten Skogstad



DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
March 5, 2020                                                         Kyrsten Skogstad



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.




                                                               Exhibit 1
                                                               000093
     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 94 of 95 Page ID #:94




 1
 2                                 PROOF OF SERVICE
 3
     STATE OF CALIFORNIA, COUNTY OF ALAMEDA
 4
 5          At the time of service, I was over 18 years of age and not a party to this
     action. I am employed in the County of Los Angeles, State of California. My
 6   business address is 155 Grand Ave., Oakland, CA 94612.
 7
     On March 19, 2020, I served true copies of the following document(s) described as
 8
     NOTICE OF MOTION AND MOTION OF PLAINTIFFS FOR
 9   WITHDRAWAL OF REFERNCE OF ADVERSAY PROCEEDINGS
10   PENDING IN BANKRUPTCY COURT
     on the interested parties in this action as follows:
11
12   BY OVERNIGHT MAIL: I enclosed the document(s) in a sealed envelope or
     package addressed to the persons at the addresses listed below and placed the
13
     envelope for collection and mailing, following our ordinary business practices. I
14   am readily familiar with the California Nurses Association’s practice for collecting
15   and processing correspondence for mailing. On the same day that correspondence
     is placed for collection and mailing, it is deposited in the ordinary course of
16   business with the UPS, in a sealed envelope with postage fully prepaid. I am a
17   resident or employed in the county where the mailing occurred. The envelope was
     placed in the mail at Oakland, California.
18
19   The Honorable Ernest M. Robles
20   U.S. Bankruptcy Court
     255 E. Temple Street, Suite 1560
21   Los Angeles, CA 90012
22
     Office of the United States Trustee
23
     915 Wilshire Blvd, Suite 1850
24   Los Angeles, CA 90017
25
     BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
26   document(s) to be sent from e-mail address ttschneaux@calnurses.org to the
27   persons at the e-mail addresses listed in below. The document(s) were transmitted
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28


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     Case 2:20-cv-02623-SVW Document 1 Filed 03/19/20 Page 95 of 95 Page ID #:95




 1   transmission, any electronic message or other indication that the transmission was
     unsuccessful:
 2
 3
     DEFENDANT: Richard Adcock, Verity Health Systems of California-
 4       aruda@bzbm.com
 5   DEFENDANT: Steven Sharrer, Verity Health
         aruda@bzbm.com
 6   DEFENDANT: De Paul Ventures, LLC
 7       sam.alberts@dentons.com
     DEFENDANT: St. Francis Medical Center, a California nonprofit public benefit
 8
         corporation sam.alberts@dentons.com
 9   DEFENDANT: St. Vincent Medical Center, a California nonprofit public benefit
10       corporation sam.alberts@dentons.com
     DEFENDANT: St. Vincent Dialysis Center, Inc.
11       sam.alberts@dentons.com
12   DEFENDANT: Seton Medical Center, a California nonprofit public benefit
         corporation sam.alberts@dentons.com
13
     DEFENDANT: Verity Health Systems of California, Inc., a California nonprofit
14       public benefit corporation sam.alberts@dentons.com
15   DEFENDANT: Verity Holding, LLC, a California limited liability company
         sam.alberts@dentons.com
16
17         I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct and that I am employed in the office
18
     of a member of the bar of this Court at whose direction the service was made.
19
     Executed on March 19, 2020, at Oakland, California.
20
21
                                           /s/Tym Tschneaux____________
22
                                           Tym Tschneaux
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